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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

EDWARD MONROE, FABIAN MOORE, : CIVIL ACTION
and THVIOTHY WILLIAMS, 0n behalf

of themselves and all other similarly

situated employees,

 

Plaintiffs, :
v. : N0. 2:08-cv-2100
FTS USA, LLC, and
UNITEK USA, LLC,
Defendants.
ORDER
AND NOW, this of November, 2009, upon consideration of Defendants’ Motion to

Close the Opt-in Period, Motion to Strike Certain Improperly Obtained and/or Untimely Filed
Consent Forms and Motion for Sanctions, and Plaintiffs’ responses theretoj it is HEREBY
ORDEREDj ADJUDGED and DECREED that Defendants’ Motions are GRANTED and that:
l. The Opt-in Period is CLOSED;
2. Those consent forms that are not in compliance With and do not mirror the Court-approved
consent form are STRICKEN and DISMISSED;
3. Those consent forms filed after August 14, 2009 are STRICKEN and DISMISSED;
4. Those consent forms filed prior to March 17, 2009 are STRICKEN and DISMISSED;
5. Those consent forms filed by or on behalf of individuals not on the prospective plaintiffs
list provided by Defendants are STRICKEN and DISMISSED;
6. Plaintiffs’ attorneys shall remove the hyperlink located on its Website that allows
individuals to continue to access, fill-out and submit opt-in consent forms for this action;

and

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7. Plaintiffs’ attorneys are ENJOINED from pursuing FLSA claims on behalf of those
individuals Whose consent forms are stricken pursuant to this Order.

BY THE COURT:

 

Bernice B. Donald, J.

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

EDWARD MONROE, FABIAN MOORE, : CIVIL ACTION
and THVIOTHY WILLIAMS, 0n behalf
of themselves and all other similarly
situated employees,
Plaintiffs, :
v. : N0. 2:08-cv-2100

FTS USA, LLC, and
UNITEK USA, LLC,
Defendants.

 

DEFENDANTS’ MOTION TO CLOSE THE OPT-IN PERIOD, MOTION
TO STRIKE CERTAIN IMPROPERLY OBTAINED AND/OR UNTIMELY FILED
CONSENT FORMS, AND MOTION FOR SANCTIONS
Defendants FTS USAj LLC (“FTS”) and UniTek USA, LLC (“Unitek”) (jointlyj
“Defendants”), by and through their undersigned counsel, hereby move this Court to: (l) re-close
the opt-in period for this collective action; (2) strike certain improperly obtained and/or untimely
filed opt-in consent forms; and (3) sanction Plaintiffs’ counsel by ordering counsel to remove a
certain hyperlink located on its Website and by enjoining Plaintiffs’ counsel from using any
improperly acquired information to pursue separate and duplicative legal action against Defendants.
The reasons for these Motions are more iiilly set forth in the accompanying Memorandum of LaW,
Which is incorporated herein by reference
WHEREFORE, Defendants respectiiilly request that this Court grant their Motions, close

the opt-in period, strike certain improperly obtained and/or untimely filed consent forms, and

sanction Plaintiffs’ counsel.

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OF COUNSEL:
ELLIOTT GREENLEAF & SIEDZIKOWSKI, P.C.

DATED; November 9, 2009

Respectfully submitted,

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

EDWARD MONROE, FABIAN MOORE, : CIVIL ACTION
and THVIOTHY WILLIAMS, 0n behalf
0f themselves and all 0ther similarly
situated employees,
Plaintiffs, :
v. : N0. 2:08-cv-2100

FTS USA, LLC, and
UNITEK USA, LLC,
Defendants.

 

DEFENDANTS’ MEMORANDUM OF LAW H\I SUPPORT OF THEIR MOTION TO
CLOSE THE OPT-IN PERIOD, MOTION TO STRIKE CERTAIN IMPROPERLY
OBTAINED AND/OR FILED CONSENT FORMS, AND MOTION FOR SANCTIONS

Defendants FTS USA, LLC (“FTS”) and UniTek USA, LLC (“Unitek”), (jointly,
“Defendants”), by and through their undersigned counsel, pursuant to Local Rule 7.2(a)(l),
respectfully submit this Memorandum of LaW in support of their Motions To Close the Opt-In
Period, To Strike Certain Improperly Obtained And/Or Filed Consent Forms, and For Sanctions.
I. PROCEDURAL HISTORY

Plaintiffs filed their Complaint commencing this action on February 14, 2008, asserting
claims under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 el seq. Specifically,
Plaintiffs allege entitlement to “unpaid Wages” and “overtime compensation.” In addition to
representing themselves, pursuant to § 2l6(b) of the FLSA, Plaintiffs purport to represent
similarly situated individuals in a collective action. Plaintiffs claim to represent all FTS
technicians Who Were paid under a piece-rate system and allegedly not compensated for non-

productive Work hours and overtime hours. In support of this intention, but before any

certification order, Plaintiffs filed twenty-nine (29) consent forms

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On March 17j 2009j this Court issued its Order adopting United States Magistrate Judge
Gerald B. Cohn’s Report and Recommendation for conditionally certifying a collective action
class. This conditionally certified class includes FTS “technicians” Who Worked for FTS during
the course of the three years preceding March 17j 2009. In this March 17j 2007 Order, this Court
approved the form of opt-in consent form that prospective plaintiffs Were to sign and file With the
Court if they intended to join this collective action:

I hereby consent to join the action against FTS USA, LLC and Unitek USA, LLC

as a Plaintiff to assert claims for overtime pay. During the past three years, there

Were occasions When I Worked for FTS over 40 hours per Week as a technician

and did not receive overtime compensation

Despite this Court’s Order to use the above-referenced form of consent for opting into
this collective action, Plaintiffs used and filed opt-in consent forms that vary substantially from
that Which this Court ordered. Additionally, this Court ordered that Plaintiffs Were required to
file any of the consent forms obtained from the prospective pool of class members on or before
August 14, 2009. Despite the Order’s clear and unambiguous terms setting the date, Which has
since passed, Plaintiffs have filed, and continue to file, consent forms on behalf of additional opt-
in plaintiffs after the Court-ordered date.1

Defendants’ Motions address several groups of defective consent forms that Plaintiffs
filed in this action For the reasons set forth beloW, Defendants respectfully request that the
Court: (l) preclude Plaintiffs from filing of any additional consent forms; (2) strike those consent

forms that Were untimely filed and/or improperly obtained and not Court-approved; and (3)

sanction Plaintiffs’ counsel by ordering counsel to remove a certain hyperlink from their Website

 

1 Plaintiff filed their most recent consent form on October 19, 2009, more than two months after
the close of the opt-in period.

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and by forbidding counsel from representing those plaintiffs whose opt-in notices were
improperly obtained.

II. DEFENDANTS’ MOTION TO ENFORCE THIS COURT’S ORDER
REGARDING CLOSURE OF THE OPT-IN PERIOD.

This Court ordered that Plaintiffs were permitted to file with this Court consent forms on
behalf of those individuals wishing to become part of this collective action The Court further
ordered that the consent forms be filed on or before August 14, 2009. Plaintiffs did not seek
permission from this Court nor obtain an agreement by Defendants to extend the time period.
In blatant disregard of this Court’s Order, Plaintiffs continue to file opt-in consent forms more
than two (2) months after the Court-ordered opt-in period closed. Since the close of the opt-in
periodj Plaintiffs filed twenty-six untimely consent forms (roughly 8% of the entire class).
Defendants respectfully request that this Court enforce its previous Order, close the opt-in
periodj and forbid Plaintiffs from filing any additional opt-in notices.

III. DEFENDANTS’ MOTION TO STRIKE CERTAIN OPT-IN NOTICES AS
UNTIMELY FILED AND IMPROPERLY OBTAINED.

Defendants request that this Court strike several categories of consent forms.
Specifically, the consent forms at issue fall into four categories.2 First, many of the consent
forms were filed m the Court-imposed opt-in period elapsed. Second, a significant percentage
of consent forms were filed via an unapproved consent form. Third, many individuals filed
forms to attempt to opt-in to this action before this Court granted conditional certification of a
collective class. Finally, several individuals who have opted-in to this action do n_ot appear on
the list of prospective plaintiffs furnished by Defendants. For the reasons that follow, this Court

must cancel and strike those consent forms that fall into any of these four categories.

 

2 In certain instances, individual consent forms fall into multiple categories.

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In Ho]j‘man-LaRoche,3 the Supreme Court acknowledged that collective actions under §
216(b) raise the potential for serious abuse during the certification stage, including the use of
“misleading communications” between the named-plaintiffs’ counsel and prospective opt-in
plaintiffs 493 U.S. 165 (1989) Because of this potential, the Supreme Court concluded that
district courts have “‘both the duty and the broad authority”’ to “‘enter appropriate orders
governing the conduct of counsel and the parties”’ Ia’. at 171 (quoting and adopting reasoning
from GulfOl'l Co. v. Bernara’, 452 U.S. 89, 101 (1981)); see Ojeda-Scmchez v. Blcma’Farms, 600
F. Supp. 2d 1373j 1378 (S.D. Ga. 2009) (noting that court had the duty and authority to enter
appropriate orders governing conduct of counsel and parties). Indeed, once a collective action is
filed, the district court “has a managerial responsibility to oversee the joinder of additional
parties to assure that the task is accomplished in an efficient and proper way.” Ho]j‘man-
LaRoche, 493 U.S. at 170-71; Boua’er v. Prudenll'al Fl'n., lnc., No. 06-4359, 2007 WL 3396303j
*2 (D.N.J. Nov. 8, 2007) (“The Supreme Court of the United States has made clear that a district
court has a managerial responsibility to oversee the process by which putative class members are
given notice of, and allowed to join a § 216(b) collective action”). By involving itself in the
process, including the development and approval of the notice and consent forms, the Court
ensures that the preparation, distribution, and filing of consent forms “is timely, accurate, and
informative,” and, as a result, avoids the need to “cancel consents obtained in an improper

manner.” Ho]j‘man-LaRoche, 493 U.S. at 172 (emphasis added). Therefore, under Ho]j‘man-

 

3 Ho]j‘man-LaRoche involved plaintiffs who alleged discrimination on the basis of age, pursuant
to the Age Discrimination in Employment Act (“ADEA”). The ADEA, however, incorporates §
216(b) of the FLSA for the purpose of enforcing the rights granted by the ADEA. See Ho]j‘man-
LaRochej 110 U.S. at 485 (reminding that ADEA is enforced through certain FLSA provisions,
including § 216(b)). Thusj while factually the Ho]j‘man-LaRoche Court involved an ADEA case,
substantively, the Court interpreted and applied § 216(b) of the FLSA. As a result, the reasoning
in Ho]j‘man-LaRoche applies directly to this case.

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LaRoche, district courts possess the authority to (1) intervene in the “notice process for case
management purposes,” and (2) cancel consent forms that are improperly obtained or filed.4

Here, this Court exercised its discretion and intervened in the notice stage of this
collective action when it approved and ordered (1) the form of notice and consent that Plaintiffs
were required to send to prospective class members, and (2) a period of time during which
prospective class members could file consent forms with the Court (the “opt-in period”); this opt-
in period closed. Disregarding these and other Orders, Plaintiffs filed a significant percentage of
defective consent forms. Pursuant to the guidelines set forth in Ho]j‘man-LaRoche, Defendants
respectfully request that this Court enforce its Orders by (1) invoking its managerial authority
over the notice and opt-in period, and (2) “cancelling,” striking, and dismissing the defective
consents Ho]j‘man-LaRoche, 493 U.S. at 170-71.

A. This Court Sh0uld Strike as Untimely Th0se Opt-in N0tices that Plaintiffs
Filed After the Close 0f the Opt-In Peri0d.

Plaintiffs continue filing consent forms despite the Court-ordered closing of the opt-in
period almost two months ago. Because these late filings violate this Court’s Order, Rule
6(b)(1)(B) of the Federal Rules of Civil Procedure, and prejudice Defendants, this Court must
strike all of the untimely consent forms.

First, this Court must strike the untimely consent forms because the forms violate this
Court’s Order. This Court established that Plaintiffs’ could file consent forms for all persons

intending to join this collective action up until August 14, 2009. A total of twenty-six (26)

 

4 As is evidenced by its most recent filing (see Doc. No. 149), Plaintiffs are well-aware of the
managerial responsibilities this Court shoulders under Ho]j‘man-Laroche. Despite this
knowledge, Plaintiffs have engaged in a pattern of activity that subverts this Court’s authority by
routinely ignoring this Court’s Orders Rather than adhering to Ho]j‘man-LaRoche (and this
Court) only when convenient, Plaintiffs must abide by this Court’s notice and pre-notice Orders
and prosecute their claim in a manner that comports with the FLSAj Ho]j‘man-LaRoche, and this
Court’s authority.

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consent forms were filed m the opt-in period closed. (See Ex. A, List of Untimely Consent
Forms) Plaintiffs’ filing of these untimely consent forms is in direct violation of this Court’s
Order. Enforcing this Court’s own Order is consistent withj if not required by, Ho]j‘man-
LciRochej as intervention in the notice stage of a § 216(b) action carries with it a corollary duty to
enforce any managerial orders the court issues 110 U.S. at 487. If a court intervenes in the
notice and opt-in stage of a collective action, but then permits filings that contravene the court’s
own orders, the court would offend the same policy grounds that provide the basis for
intervention in the first place (i.e., case management, preventing abuse, etc.). Indeed, the
Supreme Court would not have emphasized the importance of “setting cutoff dates” if it
envisioned district courts failing to enforce deadlines ld. (“Court authorization of notice serves
the goal of . . . setting culo]j‘ dates to expedite disposition of the aciion.” (emphasis added)); see
Nerlcma’ v. Cciril)ou Co]j‘ee Co., 564 F. Supp. 2d 1010, 1036-37 (D. Minn 2007) (denying
plaintiffs’ motion to reopen the opt-in period because purpose of setting cutoff dates is to “avoid
a never-ending certification process” and because the opt-in period established by the court “was
intended to be for a finite period”). Consequently, to aid the management and disposition of this
case and to comply with the Supreme Court’s directives in lilo]j‘mcm-LciRochej the Court must
enforce its scheduling order and strike the untimely consent forms.

Second, the untimely consent forms violate Rule 6(b)(1)(B) of the Federal Rules of Civil
Procedure, because, rather than moving this Court to extend the opt-in periodj Plaintiffs simply
filed consent forms after the deadline for such filings passed. Under Rule 6(b)(1)(B), if a party
must complete an “act” within a specified period of time, and that period of time has elapsed, the
court can only extend the deadline “on motion made after the time has expired if the party failed

to act because of excusable neglect.” See also W.D. Tenn Loc. R. 6 (incorporating Fed. R. Civ.

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Proc. 6 for purposes of computing time). Significantly, under Rule 6(b)(1)(B), district courts do
not exercise discretion to extend, sua sponie, set deadlines that have passed. In fact, while Rule
6(b)(1)(A) explicitly grants district courts the power to extend certain deadlines prior to
expiration, after expiration, district courts cannot extend the deadline absent a motion by the
party seeking the extension and a corresponding showing of excusable neglect. See Am. ’s
Colleciil)les Neiwork, lnc. v. Syna’icciie 1414, No. 08-cv-96, 2009 WL 2929417 (E.D. Tenn Sept.
8, 2009) (stating that because relevant deadline had passed, court could grant an extension only
on motion that made showing of excusable neglect).5

The requirements of Rule 6(b)(1)(B) apply to the Court-established deadlines for filing
consent forms in a collective action Couririghi v. Bocira’ of Commissioners of Pciyne Counlyj
No. 08-230, 2009 WL 2916897j *1 (W.D. Okla. Sept. 4, 2009). In Couririghi, two plaintiffs in a
§ 216(b) collective action under the FLSA filed untimely consent forms. Having found the
consent forms were filed after the opt-in period ended, the district court concluded that, under
Rule 6(b)(1)(B), the court could excuse the late filings only if so moved. Because the Couririghi
plaintiffs “neither filed a motion nor attempted to show excusable neglect,” the court struck the
untimely consent forms, holding that such consents must be disregarded for the purposes of the
collective action ld. at *2; cf. Klein v. O’Necil, lnc., No. 03-102, 2009 WL 1174638j *4 (N.D.
Tex. Apr. 29j 2009) (applyingj among other principlesj Rule 6(b)(1)(B) to determine whether to
allow Rule 23 class member to opt-out of class after deadline for doing so passed); Cox v.
Applicince Direci lnc.j No. 08-216, 2008 WL 4790729j *1 (M.D. Fla. Oct. 29j 2008) (denying

plaintiffs attempt to add twenty-one additional opt-in class members because consent forms

 

5 The Am. ’s Colleciil)les Nez*work opinion and all other unreported opinions cited and relied upon
in this Memorandum of Law are attached hereto as Exhibit “H.”

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were unjustifiably untimely); Moyci v. Pilgrcim ’s Pride Corp.j No. 06-1249, 2006 WL 3486739j
*2 (E.D. Pa. Nov. 30, 2006) (dismissing several untimely opt-in notices because opt-in plaintiffs
had not even attempted to make a showing of good cause for their failure to timely file consent
forms).

Here, Plaintiffs have not moved this Court to extend the opt-in period, and, even if they

had, Plaintiffs could not make a showing of good cause or excusable neglect because Plaintiffs

 

have enjoyed over five months to procure the requisite consent forms. Thus, because Plaintiffs
never filed a motion to show good cause or excusable neglect, Plaintiffs are in violation of Rule
6. Accordingly, this Court must strike all twenty-six untimely filed consent forms.

Plaintiffs’ endless stream of consent forms prejudices Defendants because the number of
untimely filings (twenty-six in total) represents a significant increase in the number of total opt-
in plaintiffs6 This increase in opt-in plaintiffs presents a sizable hurdle that will impede this
case’s reasonable and efficient progression Discovery has been ongoing for many months in
anticipation of the second stage of the certification procedure: Defendants’ motion to decertify
the conditionally certified class of technicians See O’Brien v. Ea’ Donnelly Enierprises, lnc.,
575 F.3d 567, 584 (6th Cir. 2009) (detailing the two-stage certification procedure). A motion to
decertify raises fact-intensive questions relating to whether each of the opt-in plaintiffs is
similarly situated with the named Plaintiffs Allowing numerous opt-in notices to trickle in after
the close of the opt-in period requires Defendants to conduct additional discovery as to whether
the new plaintiffs qualify as class members This additional discovery will, in turn, delay

Defendants from filing their motion to decertify the class, creating a “never-ending certification”

 

6 Moreover, based on Plaintiffs’ penchant for late filings, the number of untimely consent forms
may continue to grow. (See Ex. B, Docket Report (listing dates on which untimely consent
forms were filed).)

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process that inevitably prejudices Defendants, delays litigation, and wastes this Court’s valuable
resources See Nerlcind, 564 F. Supp. 2d at 1037. Therefore, this Court must strike the untimely
consents so that the parties can, without further distraction or delay, engage in the challenging
and time-consuming process of determining whether the opt-in plaintiffs are, in factj similarly
situated.

B. This Court Must Strike as Improperly Obtained Th0se Consent Forms Filed
via an Unapproved Form.

In blatant disregard of this Court’s Order, Plaintiffs filed numerous opt-in notices using a

form not approved bv this Court. Using these unapproved forms is improper, and those are

 

subject to cancellation See, Ho]j‘man-LaRoche, 493 U.S. at 172; Heiiman v. Cily of Chiccigo,
No. 04-3304, 2004 WL 1718420, *2 (N.D. Ill. 2004).

In connection with granting conditional certification, this Court ordered that Plaintiffs
were required to obtain consent from prospective class members on the approved form. The
Court-required consent reads:

1 hereby consent to join the action against FTS USA, LLC and Unitek USA, LLC

as a Plaintiff to assert claims for overtime pay. During the past three years, there

were occasions when 1 worked for FTS over 40 hours per week as a technician

and did not receive overtime compensation
(See Ex. C, Example of Court-Approved Consent Form.) As the Supreme Court recognized in
Ho]j‘man-LaRoche, the notice and opt-in stage of a collective action invites the inherent risk of
misleading communications aimed at incorporating as many prospective plaintiffs as possible
into the collective action By approving uniform notice and consent forms, this Court took

strides to prevent the improper solicitation of individuals by monitoring the content of the

materials that Plaintiffs’ counsel could distribute Disregarding this Court’s instruction,

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Plaintiffs have filed unapproved consent forms on behalf of forty-three (43) individuals,
representing approximately fourteen percent of the class. The unapproved form reads:

1 hereby consent to join the action against FTS USA, LLC (“FTS”) and Unitek

USA (“Unitek”) as a Plaintiff to assert claims for overtime pay. 1f this case does

not proceed collectively, 1 also consent to join any subsequent action to assert

claims against FTS and/or Unitek for overtime pay. During the past three years,

there were occasions when 1 worked over 40 hours per week as an installer or

technician and did not receive overtime compensation
(See Ex. D, Example of Unapproved Consent Form; see Ex. E, List of the Filed Unapproved
Consent Forms) Plaintiffs’ improper use of this unapproved consent form undermines this
Court’s authority and its ability to oversee the certification process See Ho]j‘man-LaRochej 493
U.S. at 487. 1ndeed, courts recognizing this problem have struck unapproved consent forms. See
Heiiman v. Ciz‘y of Chicago, No. 04-3304, 2004 WL 1718420j *2 (N.D. lll. 2004) (striking
consent forms because consent was procured via notice that was not approved by the court or the
defendant); see also Wooa’s v. New York Life lns. Co., 686 F.2d 578, 580 (7th Cir. 1982)
(announcing rule that it was inappropriate for counsel, after suit had been filed, to send notices to
potential plaintiffs without first receiving defendant’s or court’s approval). Accordingly,
because the unapproved consent forms violate the Court’s approved form and undermine the
Court’s authority, pursuant to Ho]j‘man-LaRoche, this Court must strike the unapproved consent
forms.

Should this Court permit Plaintiff’ s unapproved forms, it must invalidate the portion of
the unapproved form that differs from the approved consent forms because that portion does not
relate to this action Specifically, the unapproved form contains the following sentence: “1f this
case does not proceed collectively, 1 also consent to join any subsequent action to assert claims

against FTS and/or Unitek for overtime pay.” This sentence purports to give consent to an

unknown and speculative action that does not now and may not ever materialize. As such, the

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consent to join this iiiture action is premature, and, as a result, this Court must strike that portion
of the consent that does not apply to this action.7

C. Because Plaintiffs Pr0cured Opt-in Consent Forms Pri0r t0 Giving this

Court the Opportunity t0 Manage the N0tice and Opt-in Stage 0f this
Litigation, the Court Must Strike th0se Consent Forms Filed Bef0re the
Court Granted Conditional Certification.

Plaintiffs improperly filed consent forms on behalf of prospective class members prior to
this Court granting conditional certification Because such premature filings are improper and
contrary to the Supreme Court’s holding in Ho]j‘man-LaRoche, the Court must strike those
consent forms filed prior to March 17 , 2009.

Before this Court granted conditional approval on March 17j 2009j Plaintiffs filed
approximately twenty-nine consent forms. (See Ex. F, List of Premature Consent Forms) Such

consent forms are premature and improper Boua’er, 2007 WL 3396303, at *2. 1n Boua’er, the

court reasoned that a plaintiffs pre-certification solicitation efforts “usurp[] [a] Court’s power

 

and statutory duty to oversee the FLSA-mandated process for court-facilitated notice to potential
collective action members, including the fair content of such notice.” Boua’er, 2007 WL
3396303, at *2. “More fundamentallyj [a plaintiff’ s pre-certification solicitation efforts] preempt
[a] Court’s ability to determine whether and to whom class-wide notice was appropriate.” la’.
1ndeed, the Boua’er court concluded that “before an individual plaintiff may give notice to other
potential class members of their right to opt-in as a party to an FLSA lawsuit, the district court
has the discretionary authority whether to approve the notification of the putative class

members” la’.

 

7 The opt-in plaintiffs can choose whether to pursue further legal action after this Court grants a
motion to decertify. Moreover, by accepting the unapproved portions of the consent forms in
this matter, this Court would seemingly bind a sister court to include certain plaintiffs in any
future action

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The reasoning of the Boua’er court is consistent with the managerial duties the Supreme
Court directs in Ho]j‘man-LaRoche. Moreover, structuring the pre-certification posture of a
putative collective action in such a manner is sound from a practicality standpointj as Plaintiffs
will not know who is eligible to receive notice of a collective action until after the court
conditionally certifies a particular class of individuals 1n fact, those plaintiffs who file an opt-in
notice prior to conditional certification have not opted-in to a collective action, because no
collective action existed until after conditional certification Therefore, because Plaintiffs
solicited consent forms prior to seeking this Court’s “permission to proceed as a collective
action,” this Court must strike all consent forms filed prior to March 17j 2009j the day on which
this court granted conditional certification Cf. la’. (precluding plaintiffs’ counsel from sending
solicitation letter prior to seeking court’s approval to proceed as a collective action).
D. Because a Large Number 0f Opt-in Plaintiffs are N0t 0n the List Defendants
Pr0vided t0 Plaintiffs, this Court Must Strike Th0se Consents and/0r
Require Plaintiffs t0 Explain the Manner by which They Solicited These
Opt-in Plaintiffs.
1n connection with this Court’s conditional certification order, Defendants produced a list
of potential plaintiffs for the named Plaintiffs and their counsel to use for purposes of sending
notice of the collective action Curiously, several of the individuals who have filed consent

forms are n_ot on the list that Defendants produced. (See Ex. G, List of Unknown 1ndividuals)

The inclusion of these names is likely the result of Plaintiffs’ independent solicitation efforts As

 

discussed above, the purpose of district court involvement in the early stages of a § 216(b) action
is, in large measure, to avoid cavalier behavior during the notice and opt-in stage of the
litigation Thus, it is the district court’s duty to determine the group of individuals who will
receive notice of a collective action and to develop the content of the solicitation materials that

the group will receive. Boula’erj 2007 WL 33963 03, at *2 (reasoning that notice of a collective

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action must be accomplished in accordance with the district court’s orders). Simply put,
“attorneys are not permitted unilaterally to send unsolicited notices regarding the case to putative
FLSA class members not yet parties to an action conditionally certified by the Court.” la’.
Because Plaintiffs acted outside of the Court’s specific direction, Defendants request that this
Court must strike those individuals who were not on the list produced by Defendants.

1n addition, the Court must require Plaintiffs to detail their solicitation efforts so that
Defendants and this Court can determine whether Plaintiffs have sent or transmitted false and/or
misleading information to prospective plaintiffs See Boua’er, 2007 WL 3396303j at *2 (finding
that plaintiffs proposed notice letter was false and misleading and, therefore, preventing plaintiffs
from sending the letter). Requiring Plaintiffs to set forth the precise manner in which they have
solicited additional plaintiffs will allow Defendants to ensure that opt-in plaintiffs are not
consenting to join this action under false pretenses and will allow this Court to perform its
gatekeeping duties under Ho]j‘man-LaRoche.
IV. MOTION FOR SANCTIONS

Because Plaintiffs consistently disregarded this Court’s authority and Orders, this Court
must sanction Plaintiffs (1) by requiring Plaintiffs’ counsel to remove the hyperlink located on
its website that allows individuals to access, fill-out, and return an unapproved opt-in consent
form for this action; and (2) by precluding Plaintiffs’ counsel from representing any of the opt-in
plaintiffs’ whose consents this Court finds to be improperly obtained.

First, because the opt-in period is now closed, Plaintiffs are no longer able to properly file
consent forms on behalf of additional opt-in plaintiffs Despite this fact, Plaintiffs’ counsel

continues to provide a hyperlink to a consent form for prospective plaintiffs to fill out and

13

Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/09/09 Page 18 of 81 Page|D 1488

return8 See Nichols Kaster, hiip.‘//www.nka.com/Cases/FTSUSALLC.aspx?CaseRef:Q] (last

visited November 9 2009); Consent to Join FLSA Actionj available ai

hiip.‘//www. overlimecases. com/cases/DOCUl\/IENTS/FTSRevisea’ConsenZ.pa’f (last visited
November 9, 2009). Because the filing of any additional consent forms is precluded under the
terms of this Court’s previous scheduling order, this Court must require Plaintiffs’ counsel to
remove the hyperlink from its webpage. Such an order will assist in eliminating the need to re-
litigate the issue of untimely consent form filings in the future. Accordingly, this Court must
sanction Plaintiffs’ attorneys by requiring them to eliminate this hyperlink.

Second, as discussed above, Plaintiffs’ counsel repeatedly exceeded the scope of this
Court’s Orders in seeking to find individuals willing to take part in this action A total of sixty-
four (64) consent forms are improper due to at least one of the following defects: (1) untimely
nature of the filing, (2) unapproved nature of the form, and/or (3) unapproved nature of the
solicitation This number represents over twenty percent of the entire class of plaintiffs in this
action Moreover, a large percentage of the flawed consent forms suffer from more than one
defect. These statistics clearly demonstrate a lack of attention to this Court’s orders that has
resulted in prejudice to Defendants and in an increased burden to this Court. Moreover, merely
striking these consent forms will not alleviate these concerns

Because Plaintiffs can file FLSA claims apart from a pending collective action, Plaintiffs’
counsel will be rewarded for their inappropriate efforts by simply re-filing an action on behalf of
those individuals whose consents this Court strikes Defendants do not suggest that this Court

strip a prospective plaintiff the right to sue. 1nstead, Defendants merely request that the Court

 

8 1n factj Plaintiffs’ counsel hyperlink takes prospective plaintiffs to a webpage displaying the
unapproved consent form, in an apparent affront to this Court’s order approving a specific
consent form.

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Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/O9/O9 Page 19 of 81 Page|D 1489

prevent Plaintiffs’ counsel from benefiting from their inappropriate recruiting and solicitation

techniques Accordingly, this court must enjoin Plaintiffs’ counsel from representing any

individual whose consent this Court strikes as improperly obtained.

IV. CONCLUSION

Plaintiffs have repeatedly violated this Court’s Orders governing the notice and opt-in

procedures for this § 216(b) collective action Accordingly, this Court must close the opt-in

period; strike the improperly obtained and/or untimely filed consent forms; sanction Plaintiffs’

counsel for their disregard of this Court’s authority; and, grant Defendants such other relief as

appropriate.

OF COUNSEL:

ELLIOTT GREENLEAF & SIEDZIKOWSKI, P.C.

DATED; November 9, 2009

15

Respectfully submitted,

/s/ Colin D. Dougherty
Eric J. Bronstein
Raymond J. Santarelli
Colin D. Dougherty
Union Meeting Corp. Ctr.
925 Harvest Dr., Suite 300
Blue Bell, PA 19422
(2i5) 977-i000

Saul C. Belz

Glankler Brown

One Commerce Sq., Suite 1700
1\/1emphisj TN, 38103

(901) 525-2389

Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/O9/O9 Page 20 of 81 Page|D 1490

Exhibit “A”

Consent Forms Filed After the Court-Ordered Opt-in Period

Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/O9/O9 Page 21 of 81 Page|D 1491

Closed on August 14, 2009

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Filing Date Name
1 10/ 1 9/ 2009 Schwartz, Dwayne
2 10/8/2009 Padgett, Alex
3 10/5/2009 Charles, Robert
4 10/1/2009 Briggs, Jeffrey
5 9/29/2009 Fountain, Garrett
6 9/23/2009 Clark, Marvin
7 9/22/2009 Boatright, Aaron
8 9/15/2009 Dupie, Frank
9 9/14/2009 Reed, Joseph
10 9/4/2009 Reddy, Srinivas
11 8/28/2009 Agnew, Dwayne
12 8/28/2009 Bennettj John
13 8/28/2009 Curtis, Brandon
14 8/28/2009 Dumas, James
15 8/28/2009 Espinoza, Jesus
16 8/28/2009 Gillj Floyd
17 8/28/2009 Harding, Terry
18 8/28/2009 Harvey, Trennis
19 8/28/2009 Klorres, Kristopher
20 8/28/2009 Olofinsua, Solomon
21 8/28/2009 Richardson, Darnell
22 8/28/2009 Silva, Gregory
23 8/28/2009 Spikes, Carlos
24 8/28/2009 Stanford, Curtis
25 8/28/2009 Wilkerson, D'Andre
26 8/28/2009 Zambranoj Rafael

 

 

Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/O9/O9 Page 22 of 81 Page|D 1492

Exhibit “B”

CM`/WZQBSC\D®£&®(EDUFt-:ugad Document 155 Filed 11/O9/O9 Page 23 of 81 PBW||DQMHB

U.S. District Court

Western District of Tennessee (Memphis)
CIVIL DOCKET FOR CASE #: 2:08-cv-02100-BBD-cgc

Monroe et al v. FTS USA, LLC et al
Assigned to: Judge Bernice B. Donald

Referred to: Magistrate Judge Charmiane G. Claxton
Cause: 29:201 Denial of Overtime Compensation

Plaintiff

Edward Monroe
on behalf of themselves and all other
similiarly situated employees

Date Filed: 02/14/2008

Jury Demand: Plaintiff

Nature of Suit: 710 Labor: Fair
Standards

Jurisdiction: Federal Question

represented by Donald A. Donati

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4600 IDS Center

80 South 8th Street

https://ecf.tnwd.uscourts.gov/cgi-bin/DktRpt.pl?370l 54593285502-L_801__0-l 10/19/2009

CM`[E§§ 2:U8SCD`th»`1'1<DCCOIIFqu'01 Document 155 Filed 11/O9/O9 Page 24 of81 FP&Q@®OMM

Plaintiff

Fabian Moore
on behalf of themselves and all other
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Minneapolis , MN 55402
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Fax: 612-215-6870

Email: srey@nka.com

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ATTGRNEY TO BE NOTICED

Paul J. Lukas
(See above for address)

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LEAD ATTORNEY
ATTORNEY TO BE NOTICED

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(See above for address)

LEAD A TTORNEY
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Thomas Franklin Donaldson , Jr.
(See above for address)

LEAD ATTURNEY

ATTORNEY TO BE NOTICED

William B. Ryan

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LEAD A TTORNEY
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Robert L. Schug
(See above for address)
ATTORNEY TO BE NOTICED

Plaintiff

Timothy Williams represented by Donald A. Donati

on behalf of themselves and all other (See above for address)

similarly situated employees LEAD ATTORNEY
ATTORNEY TO BE NOTICED

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(See above for address)

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LEAD ATTORNEY
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Robert L. Schug
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ATTORNEY TO BE NOTICED
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Defendant

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represented by Colin D. Dougherty

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LEAD A TTORNEY
ATTORNEY T 0 BE NOTICED

Eric J. Bronstein

(See above for address)

LEAD A TTORNEY
ATT()RNEY TO BE NOTICED

Kathyrn M. Schilling

(See above for address)

LEAD A TTORNE Y
ATTORNEY TO BE NOTICED

Raymond J. Santarelli
(See above for address)

 

 

 

 

 

 

LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Saul C. Belz
(See above for address)
ATTORNEY TO BE NOTICED
Date Filed # Docket Text
02/14/2008 _l_ COMPLAINT against FTS USA, LLC, Unitek USA, LLC, filed by Edward
Monroe, Fabian Moore, Timothy Williams. (Attachments: # l Civil Cover
Sheet, # 2 Exhibit A, # 3_ Judge's card)(jml, ) (Entered: 02/14/2008)
02/14/2008 2 Case initiation fee: $ 350.00, receipt number M111870 (agj, ) (Entered:
02/15/2008)

 

 

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02/15/2008

Summons lssued as to Unitek USA, LLC, (vjm, ) (Entered: 02/15/2008)

 

02/15/2008

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Summons lssued as to FTS USA, LLC, (vjm, ) (Entered: 02/15/2008)

 

02/25/2008

IU*I

SUMMONS Retumed Executed by Edward Monroe. FTS USA, LLC served
on 2/22/2008, answer due 3/13/2008. (Ryan, William) (Entered: 02/25/2008)

 

03/03/2008

|O\

SUMMONS Retumed Executed by Edward Monroe. Unitek USA, LLC
served on 2/25/2008, answer due 3/17/2008. (Ryan, William) (Entered:
03/03/2008)

 

03/13/2008

I\l

NOTICE of Appearance by Saul C. Belz on behalf of FTS USA, LLC (Belz,
Saul) (Entered: 03/13/2008) `

 

03/13/2008

100

MOTION to Dismiss Plaintiffs' Collective Action Complaint, or Alternatively,
for a More Definite Statement - Proposed Order Submitted by FTS USA,
LLC, (Attachments: # 1 Memorandum in Support of Motion to Dismiss
Plaintiffs' Collective Action Complaint, or Alternatively, for a More Definite
Statement)(Belz, Saul) (Entered: 03/13/2008)

 

03/31/2008

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachrnents: # 1 Consent, # 2 Certificate of Service)
(Nichols, Donald) (Entered: 03/31/2008)

 

04/03/2008

RESPONSE to Motion re § MOTION to Dismiss Plainti/j{s' Collective Action
Complaint, or Alternatively, for a More Definite Statement - Proposed Order
Submitted filed by Edward Monroe, Fabian Moore, Timothy Williams.
(Attachments: # 1 Exhibit A, # 2 Exhibit B)(Srey, Rachhana) (Entered:
04/03/2008)

 

04/08/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (6) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Nichols, Donald) (Entered: 04/08/2008)

 

04/ 1 l/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (2) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Nichols, Donald) (Entered: 04/11/2008)

 

04/14/2008

MOTION for Leave to Appear Pro Hac Vice of Eric J. Bronstein - Proposed
Order Submitted by all defendants (Attachments: # 1 Exhibit Declaration of
Eric J. Bronstein, # 2 Exhibit Eric J. Bronstein Certificate of Good Standing)
(Belz, Saul) (Entered: 04/14/2008)

 

04/14/2008

MOTION for Leave to Appear Pro Hac Vice of Kathryn M Schilling -
Proposed Order Submitted by all defendants (Attachments: # 1 Exhibit
Kathryn M. Schilling Declaration, # 2 Exhibit Kathryn M. Schilling
Certificate of Good Standing)(Belz, Saul) (Entered: 04/14/2008)

 

04/14/2008

MOTION for Leave to Appear Pro Hac Vice of Raymond J. Santarelli -
Proposed Order Submitted by all defendants (Attachments: # 1 Exhibit
Raymond J. Santarelli Declaration, # 2 Exhibit Raymond J. Santarelli
Certificate of Good Standing)(Belz, Saul) (Entered: 04/14/2008)

 

04/14/2008

 

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MOTION for Leave to Appear Pro Hac Vice of Colin D. Dougherty -

 

10/19/2009

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Proposed Order Submitted by all defendants. (Attachments: # 1 Exhibit Coliln
D. Dougherty Declaration, # 2 Exhibit Colin D. Dougherty Certificate of
Good Standing)(Belz, Saul) (Entered: 04/14/2008)

04/14/2008 17 NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (2) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Nichols, Donald) (Entered: 04/14/2008)

04/16/2008 18 COURTESY NOTICE: Pursuant to Rule 5 of the Federal Rules of Civil
Procedure, document M MOTION for Leave to Appear Pro Hac Vice of
Kathryn M. Schilling - Proposed Order Submitted filed by FTS USA, LLC,
Unitek USA, LLC, 15_ MOTION for Leave to Appear Pro Hac Vice of
Raymond J. Santarelli - Proposed Order Submitted filed by FTS USA, LLC,
Unitek USA, LLC, 13 MOTION for Leave to Appear Pro Hac Vice of Eri`c J
Bronstein - Proposed Order Submitted filed by FTS USA, LLC, Unitek USA,
LLC, § MOTION for Leave to Appear Pro Hac Vice of Colin D. Dougherty -
Proposed Order Submitted filed by FTS USA, LLC, Unitek USA, LLC has
been filed. For future reference, please note that motion pro hac vices are to be
submitted through the proper phv link located on the website under ecf
policies and procedures Thank you and if you have questions please call 901-
495-1505.. Filer is not required to resubmit document (jml, ) (Entered:
04/16/2008)

04/16/2008 19 Filing feel $ 400, Motion Pro Hac Vice receipt number M112772 as to
attorneys Eric J. Bronstein, Kathryn M. Schilling, Raymond J. Santarelli,
Coliln D. Dougherty. (jml, ) (Entered: 04/16/2008)

04/17/2008 B NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Nichols, Donald) (Entered: 04/17/2008)

04/22/2008 2_l ORDER granting § Motion for Leave to Appear Pro Hac Vice; granting §
Motion for Leave to Appear Pro Hac Vice; granting 15 Motion for Leave to
Appear Pro Hac Vice; granting § Motion for Leave to Appear Pro Hac Vice.
Signed by Judge Bernice B. Donald on 4/22/2008. (Donald, Bernice) (Entered:
04/22/2008)

04/23/2008 22 SETTING LETTER: Scheduling Conference Set for 5/20/2008 09:30 AM in
Courtroom 5 - Memphis before Magistrate Judge Diane K. Vescovo. Please
email the proposed joint scheduling order to
ECF_Judge_Vescovo@tnwd.uscourts.gov by Wednesday, May 14, 2008. lf
the order is approved and filed, the conference will be canceled.Please see
Judge Vescovo’s Rule 16(b) instructions and form order at
www.tnwd.uscourts.gov/judgevescovo.Wescovo, Diane) (Entered:
04/23/2008)

05/12/2008 23 NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Withdrawal Filing (Attachments: # 1 Certificate of Service)(Srey, Rachhana)
(Entered: 05/12/2008)

05/14/2008 24 NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (2) (Attachments: # 1 Consents (2), # 2 Certificate of Service)
(Nichols, Donald) (Entered: 05/14/2008)

 

 

 

 

 

 

 

 

 

 

 

 

 

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05/15/2008

SCHEDULING ORDER - Entry of this order cancels the conference set
5/20/2008. Signed by Magistrate Judge Diane K. Vescovo on 5/15/2008.
(Vescovo, Diane) (Entered: 05/15/2008)

 

05/15/2008

Set Deadlines/Hearings: Amended Pleadings due by 7/1/2008. Discovery due
by 12/31/2008. Joinder of Parties due by 7/1/2008. Dispositive Motions due
by 4/17/2009 per #25. (jml, ) (Entered: 05/19/2008)

 

05/20/2008

26

SETTING LETTER: Jury Trial set for 7/20/2009 09:00 AM in Courtroom 3 -
Memphis before Judge Bernice B. Donald. Pretrial Conference set for
7/6/2009 08:45 AM in Courtroorn 3 - Memphis before Judge Bernice B.
Donald. Proposed Pretrial Order due by 6/29/2009. (tlh, ) (Entered:
05/20/2008)

 

06/06/2008

ORDER Striking Certain Plaintiffs Signed by Judge Bernice B. Donald on
6/6/2008. (Donald, Bernice) (Entered: 06/06/2008)

 

07/09/2008

ORDER denying § Motion to Dismiss Signed by Judge Bernice B. Donald on
7/9/08.(Donald, Bernice) (Entered: 07/09/2008)

 

07/09/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (4) (Attachrnents: # 1 Consents, # 2 Certificate of Service)
(Nichols, Donald) (Entered: 07/09/2008)

 

07/23/2008

Defendants FTS USA,LLC’s and Unitek USA, LLC's ANSWER to Complaint
by all defendants(Bronstein, Eric) (Entered: 07/23/2008)

 

07/23/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent Form, # 2 Certificate of
Service)(Nichols, Donald) (Entered: 07/23/2008)

 

08/01/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
F irm Name Change (Nichols, Donald) (Entered: 08/01/2008)

 

08/08/2008

33

COURTESY NOTICE: Pursuant to Rule 5 of the Federal Rules of Civil
Procedure, document 22 N0tice (Other) filed by Edward Monroe, Fabian
Moore, Timothy Williams has been filed. For future reference, please note that
this document should should reflected a certificate of service page. Thariks..
Filer is not required to resubmit document (jml) (Entered: 08/08/2008)

 

09/29/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 09/29/2008)

 

10/02/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 10/02/2008)

 

10/09/2008

MOTION to Certify Class Motion for Conditional Class Certification and
Court-Authorized N0tice,' proposed order submitted by Edward Monroe,
Fabian Moore, Timothy Williams. (Attachments: # 1 Memorandum of Law, #
2 Exhibit A, # 2 Exhibit B, # 4 Exhibit C, # _5_ Exhibit D, # § Exhibit E, # 1
Exhibit F, # § Certificate of Consultation, # 9 Affidavit of Rachhana T. Srey, #
1Q Certificate of Service)(Srey, Rachhana) (Entered: 10/09/2008)

 

 

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10/19/2009

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10/10/2008

MOTION to Compel Discovery,' proposed order submitted by Edward
Monroe, Fabian Moore, Timothy Williams. (Attachments: # 1 Memorandum
of Law, # 2 Exhibit A, # § Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # _6_ Exhibit
E, # 1 Exhibit F, # § Exhibit G, # 9 Exhibit H, # 10 Exhibit I, # g Exhibit J, #
Q Exhibit K, # 1_3_) Exhibit L, # § Certificate of Consultation, # 1_5 Certificate
of Service)(Srey, Rachhana) (Entered: 10/10/2008)

 

10/10/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 10/10/2008)

 

10/16/2008

Joint MOTION for Extension of Time to File Response/Reply as to §
MOTION to Certify Class Motion for Conditional Class Certification and
Court-Authorized N0tice; proposed order submitted by all defendants
(Bronstein, Eric) (Entered: 10/16/2008)

 

10/20/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (]) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 10/20/2008)

 

10/20/2008

ORDER granting 3_9_ Motion for Extension of Time to File Response/Reply re
§ Joint MOTION for Extension of Time to File Response/Reply as to §
MOTION to Certify Class Motion for Conditional Class Certification and
Court-A uthorized N0tice,' proposed order submitted Responses due by
11/11/2008. Signed by Judge Bernice B. Donald on 10/20/08.(Donald,
Bernice) (Entered: 10/20/2008)

 

10/20/2008

Set/Reset Deadlines as to §§ MOTION to Certify Class Motion for
Conditional Class Certification and Court-Authorized N0tice,' proposed order
submitted Responses due by 11/11/2008 per #41. (jml) (Entered: 10/21/2008)

 

10/21/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 10/21/2008)

 

10/24/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 10/24/2008)

 

10/27/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 10/27/2008)

 

10/27/2008

RESPONSE in Opposition re 31 MOTION to Compel Discovery,' proposed
order submitted filed by all defendants (Bronstein, Eric) (Entered:
1 0/27/2008)

 

10/30/2008

 

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46

 

DEFICIENCY NOTICE: Pursuant to Rule 5 of the Federal Rules of Civil
Procedure, document § Response in Opposition to Motion filed by FTS USA,
LLC, Unitek USA, LLC has been filed. However, the following deficiency has
been found: Please note that orders are to be sent directly and only to the
Judge's email for approval only and should not be submitted as an attachment
to the document Thanks and please submit order if you have not done so..

10/19/2009

 

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(jmi) (Entered: 10/30/2008)

 

10/30/2008

MOTION for Leave to File Reply Memorandum by all plaintiffs (Srey,
Rachhana) (Entered: 10/30/2008)

 

11/10/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 11/10/2008)

 

11/11/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 11/11/2008)

 

11/11/2008

RESPONSE to Motion re § MOTION to Certify Class Motion for
Conditional Class Certification and Court-Authorized Notice,' proposed order
submitted filed by FTS USA, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit
B, # 3 Exhibit C, # 4 Exhibit D)(Bronstein, Eric) (Entered: 11/11/2008)

 

11/13/2008

51

DEFICIENCY NOTICE: Pursuant to Rule 5 of the Federal Rules of Civil
Procedure, document 5_Q Response to Motion, filed by FTS USA, LLC has
been filed. However, the following deficiency has been found: Please note that
the order is located in the same entry as the response, however it is right above
the response. You will need to resubmit a corrected response under the notice
category then in the drop down box select 'notice of correction'. Orders are
submitted directly and only to the Judge's email. Thanks and if you have
questions please ca11 901-495-1505.. The filer has one business day to correct
the deficiency. (jml) (Entered: 11/13/2008)

 

11/13/2008

N0tice of Correction to 50 Response to Motion, for Conditional Class
Certification and Court Authorizea1 Notice. (Bronstein, Eric) (Entered:
1 1/13/2008)

 

11/20/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 11/20/2008)

 

11/21/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (2) (Attachments: # 1 Consent, # 2 Consent, # § Certificate of
Service)(Srey, Rachhana) (Entered: 11/21/2008)

 

11/21/2008

ORDER granting 4_7 Motion for Leave to File. Signed by Judge Bernice B.
Donald on 11/21/08. (Donald, Bernice) (Entered: 11/21/2008)

 

11/21/2008

ORDER REFERRING MOTION: 3_7 MOTION to Compel Discovery,'
proposed order submitted filed by Edward Monroe, Fabian Moore, Timothy
Williams. Signed by Judge Bernice B. Donald on 11/21/08. (Donald, Bernice)
(Entered: 1 1/21/2008)

 

11/24/2008

MOTION for Leave to File Reply Memorandum in Support of Motion for
Conditional Class Certifcation and Court-Authorized N0tice by all plaintiffs
(Srey, Rachhana) (Entered: 11/24/2008)

 

11/24/2008

 

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (2) (Attachments: # 1 Consent, # 2 Consent, # § Certificate of

10/19/2009

 

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Service)(Srey, Rachhana) (Entered: 11/24/2008)

 

11/26/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williarris Notice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 11/26/2008)

 

11/26/2008

REPLY to Response to Motion re 31 MOTION to Compel Discovery,'
proposed order submitted Plaintiffs’ Reply In Support OfMotion To Compel
Discovery filed by Edward Monroe, Fabian Moore, Timothy Williams. (Srey,
Rachhana) (Entered: 11/26/2008)

 

12/01/2008

ORDER granting 11 Motion to Compel. Signed by Magistrate Judge Diane K.
Vescovo on 12/1/08. (Vescovo, Diane) (Entered: 12/01/2008)

 

12/02/2008

AMENDED ORDER GRANTING IN PART PLAINTIFFS' MOTION TO
COMPEL -- Amended to correct dates to October 8, 2008, in last paragraph of
order. Signed by Magistrate Judge Diane K. Vescovo on 12/2/2008. (Vescovo,
Diane) (Entered: 12/02/2008)

 

12/02/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (2) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 12/02/2008)

 

12/05/2008

ORDER granting 5_1 Motion for Leave to File. Signed by Judge Bernice B.
Donald on 12/5/08. (Donald, Bernice) (Entered: 12/05/2008)

 

12/10/2008

Joint MOTION to Extend Deadline Joint Motion F or Extension of Discovery
Deadline, Dispositive Motion Deadline & Joint Motion for New Trial Date
(proposed order submitted) by Edward Monroe, Fabian Moore, Timothy
Williams. (Srey, Rachhana) (Entered: 12/10/2008)

 

12/11/2008

ORDER granting § Motion to Extend Discovery Deadline, Dispositive
Motion Deadline and for New Trial Date. Signed by Judge Bernice B. Donald
on 12/11/08. (Donald, Bernice) (Entered: 12/11/2008)

 

12/1 1/2008

Set Deadlines/I-Iearings: Discovery due by 3/31/2009. Dispositive Motions
due by 7/31/2009 per #66. (jml) (Entered: 12/12/2008)

 

12/12/2008

ORDER REFERRING MOTION: § MOTION to Certify Class Motion for
Conditional Class Certification and Court-A uthorized Notice,' proposed order
submitted filed by Edward Monroe, Fabian Moore, Timothy Williams. Signed
by Judge Bernice B. Donald on 12/12/08. (Donald, Bernice) (Entered:
12/12/2008)

 

12/12/2008

REPLY to Response to Motion re x MOTION to Certify Class Motion for
Conditional Class Certification and Court-Authorized Notice,' proposed order
submitted filed by all plaintiffs (Attachments: # 1 Exhibit 1 - Selected
Excerpts from Deposition of Yvette Shockman, # 2 Exhibit 2 - Other FLSA
N0tices # 3 Exhibit 3 - Cited Unpublished Decisions)(Srey, Rachhana)
(Entered: 12/12/2008)

 

12/16/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williains N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 12/16/2008)

 

 

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10/19/2009

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12/26/2008

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 12/26/2008)

 

12/29/2008

71

ORDER OF TRANSFER [TEXT ONLY] This case is hereby transferred from
Magistrate Judge Diane Vescovo to Magistrate Judge Gerald B. Cohn as the
referral judge. All pending and future references and assignments in this case
from Judge Anderson will be handled by Magistrate Judge Cohn. The suffix
designation V following the case number shall be changed to C. The parties
are directed to include the new suffix in all future pleadings Signed by
Magistrate Judge Diane K. Vescovo on 12/29/2008. (Vescovo, Diane)
(Entered: 12/29/2008)

 

12/29/2008

Magistrate Judge Gerald B. Cohn added. Magistrate Judge Diane K. Vescovo
no longer assigned to case per #71. (jml) (Entered: 12/29/2008)

 

12/30/2008

RE-SETTING LETTER: Jury Trial re-set for 11/2/2009 09:00 AM in
Courtroom 3 - Memphis before Judge Bernice B. Donald. Pretrial Conference
re-set for 10/19/2009 01:30 PM in Courtroom 3 - Memphis before Judge
Bernice B. Donald. Proposed Pretrial Order due by 10/13/2009. (tpe) (Entered:
12/30/2008)

 

01/22/2009

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (2) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 01/22/2009)

 

02/23/2009

REPORT AND RECOMMENDATIONS re 3_6 MOTION to Certify Class
Signed by Magistrate Judge Gerald B. Cohn on 2/23/2009. (Cohn, Gerald)
(Entered: 02/23/2009)

 

02/24/2009

NOTICE of Appearance by Robert L Schug on behalf of Edward Monroe,
Fabian Moore, Timothy Williams (Schug, Robert) (Entered: 02/24/2009)

 

03/04/2009

Joint MOTION to Extend Deadline Joint Motion and Memorandum in
Support of Motion to Set New Expert Disclosure Deadlines, proposed order
submitted by Edward Monroe, Fabian Moore, Timothy Williams. (Schug,
Robert) (Entered: 03/04/2009)

 

03/17/2009

ORDER granting § Motion to Certify Class; adopting Report and
Recommendations re 14 Report and Recommendations. Signed by Judge
Bernice B. Donald on 3/17/09. (Donald, Bernice) (Entered: 03/17/2009)

 

03/17/2009

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Schug, Robert) (Entered: 03/17/2009)

 

03/24/2009

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Schug, Robert) (Entered: 03/24/2009)

 

03/30/2009

ORDER granting 16 Motion to Extend Deadline. Signed by Judge Bernice B.
Donald on 3/30/09. (Donald, Bernice) (Entered: 03/30/2009)

 

 

04/01/2009

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of

 

10/19/2009

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Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Schug, Robert) (Entered: 04/01/2009)

 

04/02/2009

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams of Consent
Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)(Schug,
Robert) (Entered: 04/02/2009)

 

04/17/2009

Joint MOTION to Extend Deadline Joint Motion and Memorandum for
Modification of Discovery, Expert Witness, and Dispositive Motion Deadlines
& New Trial Date. Proposed order submitted by Edward Monroe, Fabian
Moore, Timothy Williams (Schug, Robert) (Entered: 04/17/2009)

 

04/20/2009

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Schug, Robert) (Entered: 04/20/2009)

 

05/01/2009

ORDER granting § Motion to Extend Deadline. Signed by Judge Bernice B.
Donald on 5/1/09. (Donald, Bernice) (Entered: 05/01/2009)

 

05/01/2009

J oint MOTION for Approval of Judicial N0tice by Edward Monroe, Fabian
Moore, Timothy Williams (Attachments: # 1 Exhibit A-Proposed J udicial
N0tice)(Schug, Robert) (Entered: 05/01/2009)

 

05/12/2009

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachrnents: # 1 Consent, # 2 Certificate of Service)
(Schug, Robert) (Entered: 05/12/2009)

 

05/13/2009

RE-SETTING LETTER: Jury Trial re-set for 2/22/2010 09:00 AM in
Courtroom 3 - Memphis before Judge Bernice B. Donald. Pretrial Conference
re-set for 2/8/2010 01 :30 PM in Courtroom 3 - Memphis before Judge Bernice
B. Donald. Proposed Pretrial Order due by 2/1/2010. (tpe) (Entered:
05/13/2009)

 

05/15/2009

ORDER granting § Motion. Signed by Judge Bernice B. Donald on 5/15/09.
(Donald, Bernice) (Entered: 05/15/2009)

 

05/26/2009

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (]) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Schug, Robert) (Entered: 05/26/2009)

 

06/09/2009

ORDER REAS SIGNING REFERRAL JUDGE pursuant to Administrative
Order 2009-14. Case reassigned to Magistrate Judge Charmiane G. Claxton
for all further proceedings Magistrate Judge Gerald B. Cohn no longer
assigned to case. Signed by Chief Judge Jon Phipps McCalla on 6/9/09. (iae)
(Additional attachment(s) added on 6/9/2009: # 1 Order) (jae). (Entered:
06/09/2009)

 

06/19/2009

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 06/19/2009)

 

06/22/2009

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (7) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 06/22/2009)

 

 

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10/19/2009

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06/23/2009 _9_4 NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (22) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 06/23/2009)

06/24/2009 § NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (2) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 06/24/2009)

06/25/2009 9_6_ NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (13) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 06/25/2009)

06/26/2009 97 NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (16) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 06/26/2009)

06/29/2009 98 NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (23) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 06/29/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams of Consent
Filing (5) (Attachments: # 1 Consents, # 2 Certificate of Service)(Srey,
Rachhana) (Entered: 06/30/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 07/01/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 07/02/2009)

NOTICE of Appearance by Thomas Franklin Donaldson, Jr on behalf of all
plaintiffs (Donaldson, Thomas) (Entered: 07/03/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams of Consent
Filing (22) (Attachments: # 1 Consents, # 2 Certificate of Service)(Srey,
Rachhana) (Entered: 07/06/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 07/07/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (2) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 07/08/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams of Consent
Filing (3) (Attachments: # 1 Consents, # 2 Certificate of Service)(Srey,
Rachhana) (Entered: 07/09/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams of Consent
Filing (3) (Attachments: # 1 Consents, # 2 Certificate of` Service)(Srey,
Rachhana) (Entered: 07/10/2009)

 

 

 

 

 

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (5) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 07/13/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 07/14/2009)

Emergency MOTION to Expedite Plaintijjfs'Motion for Permission to Send
Reminder Letter to Putative Class Members,' proposed order submitted by
Edward Monroe, Fabian Moore, Timothy Williams (Attachments: # 1 Exhibit
A, # 2 Declaration of Rachhana T. Srey in Support, # § Exhibit -A Draft
Reminder, # 4 Exhibit -B 6.23.2009 Email, # 5 Exhibit -C 6.9.2009 Email, # §
Exhibit -D 6.15.2009 Emails, # 1 Exhibit E-E Letter, # _8 Exhibit -F 6.30.2009
Emails, # 9 Exhibit -G Email & Attached Order, # § Certificate of
Consultation, # g Certificate of Service)(Srey, Rachhana) (Entered:

07/ 1 5/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (3) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 07/16/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (2) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 07/17/2009)

ORDER Setting Hearing on Motion 11_0 Emergency MOTION to Expedite
Plaintiffs' Motion for Permission to Send Reminder Letter to Putative Class
Members: Motion Hearing set for 7/22/2009 at 8:00 AM in Courtroom 3 -
Memphis before Judge Bernice B. Donald. Signed by Judge Bernice B.
Donald on 7/17/2009. (Donald, Bernice) (Entered: 07/17/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams of Consent
Filing (8) (Attachments: # 1 Consents, # 2 Certificate of Service)(Srey,
Rachhana) (Entered: 07/20/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 07/21/2009)

07/22/2009 116 Minute Entry for proceedings held before Judge Bernice B. Donald: Motion
Hearing held on 7/22/2009 re 1Q Emergency MOTION to Expedite Plaintiffs'
Motion for Permission to Send Reminder Letter to Putative Class Members;
filed by Edward Monroe, Fabian Moore, Timothy Williams Court finds no
unfair predjudice and approves sending of letter to putative class members
Motion Granted. Present: R. Srey (by telephone), W. Ryan, C. Dougherty (by
telephone). (Court Reporter L. Dudley.) (tpe) (Entered: 07/22/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 07/22/2009)

ORDER granting M Motion to Expedite. Signed by Judge Bernice B. Donald

 

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on 7/23/09. (Donald, Bernice) (Entered: 07/23/2009)

 

07/23/2009

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (2) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 07/23/2009)

 

07/24/2009

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams of Consent
Filing (2) (Attachments: # 1 Consents, # 2 Certificate of Service)(Srey,
Rachhana) (Entered: 07/24/2009)

 

07/27/2009

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams of Consent
Filing (4) (Attachments: # 1 Consents, # 2 Certificate of Service)(Srey,
Rachhana) (Entered: 07/27/2009)

 

07/28/2009

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 07/28/2009)

 

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 07/30/2009)

 

07/31/2009

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 07/31/2009)

 

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (4) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 08/03/2009)

 

08/04/2009

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (3) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 08/04/2009)

 

08/05/2009

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (2) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 08/05/2009)

 

08/06/2009

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (6) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 08/06/2009)

 

08/07/2009

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (23) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 08/07/2009)

 

08/10/2009

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (2]) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 08/10/2009)

 

08/1 1/2009

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (9) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 08/11/2009)

 

08/12/2009

 

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of

 

10/19/2009

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Consent Filing (2) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 08/12/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (]2) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 08/13/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (] 3) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 08/14/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (2) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 08/14/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 08/17/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (] 6) (Attachments: # 1 Consents, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 08/28/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 08/31/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing(]) (Attachments: # 1 Consent, # 2 Certificate of Service)(Srey,
Rachhana) (Entered: 09/04/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 09/14/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 09/15/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 09/22/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 09/23/2009)

09/29/2009 M NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 09/29/2009)

NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 10/01/2009)

 

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 10/05/2009)

 

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NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent, # 2 Certificate of Service)
(Srey, Rachhana) (Entered: 10/08/2009)

 

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10/19/2009 1_ NOTICE by Edward Monroe, Fabian Moore, Timothy Williams N0tice of
Consent Filing (1) (Attachments: # 1 Consent Form, # 2 Certificate of
Service)(Srey, Rachhana) (Entered: 10/19/2009)

 

 

 

 

 

 

 

 

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Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/O9/O9 Page 41 of 81 Page|D 1511

Exhibit “C”

Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/O9/O9 Page.42 of 81 Page|D 1512
Case 2:08-_cv-02100-BBD-cgc Document 128-2 Filed 08/06/2009 Page 2 of 6

 

PLAINTIFF CONSENT FORM

 

I hereby consent to join the action against FTS USA, LLC and Unitek USA, LLC as a Plaintiifto
assert claims for overtime pay. During the past three yeais, there were occasions when I worked for
FTS over 40 hours per week as a technician and did not receive overtime compensation

Joshua Ayers

 

REDACTED

 

 

 

If a__n of n e above information has changcd, please update

  

 

REDACTED

 

 

 

Fax, Mail or Email to:

Nichok Kaster, PLLP

Attn.: Rachhana T. Srey

4600 IDS Center, 80 South Eighth Street -
Minneapolis, Minnesota-55402-2242

Fax: (612) 215-6870

Toll Free Telephone: (877) 448-0492
Email: rschug@nka.com

 

 

Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/O9/O9 Page 43 of 81 Page|D 1513

Exhibit “D”

 

 

REDACTED

 

 

 

 

FTS USA, LLC and UNI'IEK USA LLC
PLAINTIFF CONSENT FORM

 

1 hereby WHSCIH 10 join the action against FTS USA, LLC {“PTS”) and Unitek
USA LLC (“Unitek”) as a Plaintiii`to assert claims for overtime pay. If`rhis case does not
proceed eolleetively,, 1 also consent rejoin any subsequent nation to assert claims against
FTS and/or Unitek for overtime pay. During the past three years, there were occasions
when 1 worked over 40 hours per Weelc as an installer or technician and did nut receive

overtime compensation
62 % /o -3' - egg

 

 

Signature Date _
r?dzm utnce.~t- )litt:e,-
Print Name

REDACTED

 

 

 

Fa:t~:, Mail or Email to: Nichols Kastier, PLLP
Attci: Rachhana T. Srey
4600 IDS Center. 30 South Eig.l\t.t: Street
Minneapolis, MN 55402-2242
Fax: (612) 215-5870
‘I'oii Free Te}ephnne: (877) 443-0492
Email: srey@nka_com
Web: www.overtimer.=ases.com

 

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Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/O9/O9 Page 45 of 81 Page|D 1515

Exhibit “E”

Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/O9/O9 Page 46 of 81 Page|D 1516

Consent Forms Filed on an Unapproved Form

 

 

Name
Alvarez, Rolondo J.
Bass, Joshua
Bearse, David
Becton, Xavier
Belkadhi, Ramzi
Boatright, Aaron
Brantleyj Carl
Brazzelj Justin
Bridgewaterj William R.
10 Burks, Bryant
11 Charles, Robert
12 Cyphers, Derek
13 Davis, George
14 Davis, Justin
15 Davis, Randy
16 Fountain, Garrett
17 Grabarkiewicz, Matthew
18 Haglundj Brian
19 Harding, Terry
20 Haydel, Joshua J.
21 Hilkerj Adam Vincent
22 Hollings, William
23 Hunt, Richard
24 Janov, Jonathon
25 Korba, Christopher
26 Kurktchiyski, Pentcho
27 LaDuke, Sean
28 Lakhchine, Abdelkarim
29 Langhorne, Jason
30 Lee, Randy
31 Lord, Michael
32 Lundgreen, Michael
33 1\/1alonej Darrick
34 McHugh, Sean
35 Myers, Michael
36 Nelson, Jarius
37 Peterson, Joseph M.
38 Squire, Brandon
39 Taleb, Oualid Ben
40 Thornton, Terry
41 Vargas, Joan
42 Webb, Kenneth L.
43 Williams, Jason
44 Zambrano, Joel

 

 

 

 

 

 

 

 

 

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Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/O9/O9 Page 47 of 81 Page|D 1517

Exhibit “F”

Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/O9/O9 Page 48 of 81 Page|D 1518

Consent Forms Filed Bef0re the Court-Ordered Opt-in Period

Opened on March 17, 2009

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Filing Date Name

1 3/31/2008 Thornton, Terry

2 4/8/2008 Squire, Brandon

3 5/14/2008 Becton, Xavier

4 5/14/2008 Burks, Bryant

5 7/9/2008 Brantley, Carl

6 7/9/2008 Davis, Randy

7 7/9/2008 1\/1alonej Darrick

8 7/9/2008 Nelson, Jarius

9 7/23/2008 Haydel, Joshua J.

10 9/29/2008 Bass, Joshua

1 1 10/2/2008 Cyphers, Derek

12 10/ 1 0/ 2008 Grabarkiewicz, Matthew
13 10/20/2008 Janov, Jonathon

14 10/21/2008 Hollings, William

15 10/24/2008 Webb, Kenneth L.

16 10/27/2008 Alvarez, Rolondo J.
17 1 1/10/2008 1\/1yersj Michael

18 11/11/2008 Lord, Michael

19 11/20/2008 Peterson, Joseph M.
20 11/21/2008 Belkadhi, Ramzi
21 11/21/2008 McHugh, Sean
22 11/24/2008 Haglund, Brian
23 11/24/2008 Talebj Oualid Ben
24 11/26/2008 Hunt, Richard
25 12/2/2008 Korbaj Christopher
26 12/2/2008 Lakhchine, Abdelkarim
27 12/16/2008 Brazzelj Justin
28 12/26/2008 LaDuke, Sean
29 1/22/2009 Bridgewaterj William R.
30 1/22/2009 Hilkerj Adam Vincent

 

 

Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/O9/O9 Page 49 of 81 Page|D 1519

Exhibit “G”

Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/O9/O9 Page 50 of 81 Page|D 1520

Consent Forms Filed by Individuals Who are Not Included in
List Pr0vided bv Defendants

 

 

Name
Alvarez, Rolondo J.
Bass, Joshua
Belkadhi, Ramzi
Bridgewaterj William R.
Cyphers, Derek
Davis, George
Fountain, Garrett
Grabarkiewicz, Matthew
Haglund, Brian
10 Haron, Aaron
11 Hilkerj Adam Vincent
12 Hollings, William
13 Janov, Jonathon
14 Korba, Christopher
15 LaDuke, Sean
16 Lakhchine, Abdelkarim
17 Langhorne, Jason
18 Lord, Michael
19 McHugh, Sean
20 Myers, Michael
21 Peterson, Joseph M.
22 Squire, Brandon
23 Taleb, Oualid Ben
24 Vargas, Joan
25 Webb, Kenneth L.
26 Zambrano, Joel

 

 

 

 

 

 

 

 

 

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Exhibit “H”

Case 2:O8-cV-O2100-.]TF-cgc Document 155

Wasttav\t

slip Copy, 2009 wL 2929417 (E.D.Tenn.)
(Cite as: 2009 wL 2929417 (E.D.Tenn.))

Only the Westlaw citation is currently avail-
able.

United States District Court,
E.D. Tennessee,

Knoxville Division.
AMERICA'S COLLECTIBLES NET-
WORK, 1NC., d/b/a Jewelry Television,
Plaintiff,

v.

SYNDICATE 1414, Syndicate 2003, Syndi-
cate 382, Syndicate 510, Syndicate 2791j
Syndicate 2488, Syndicate 1221, Syndicate
4472, Syndicate 4000, Syndicate 1036, and
All Underwriters Subscribing to Lloyd's
London Policies 1ssued Under Certificate
No. GLGL000/9402, Defendants.

N0. 3:08-cv-96.

Sept. 8, 2009.

John L. 1\/1illerj Martin B. Bailev, Wagner,
Myers & Sanger, PCj Knoxvillej TN,
Stephen E. Roth, America's Collectibles
Network, 1nc., Knoxville, TN, for Plaintiff

 

Stephen E. Yeager, Lowe & Yeager, Knox-
villej TN, for Defendants.

MEMORAND UMAND ORDER
THOMAS A_ VARLAN, District Judge.

"1 This civil action is before the Court on
defendants' Motion to Amend Scheduling
Order. [Doc. 14.] The Scheduling Order in
this case was entered on December 22j
2008. [Doc. 7.] The Scheduling Order pro-
vides in part that all discovery must be com-

Filed 11/O9/O9 Page 52 of 81 Page|D 1522

Page 1

pleted no later than 90 days before trial, or
August 18j 2009. The Scheduling Order also
provides that all dispositive motions must be
filed no later than 120 days before trial, or
July 17j 2009j and that the failure to timely
file such motions will serve as grounds to
deny those motions Finally, the Scheduling
Order provides that the Court will not
amend the Scheduling Order absent good
cause.

1n their motion, defendants request that the
time within which to file dispositive motions
be extended from July 17, 2009 to Septem-
ber 18j 2009. Defendants allege a mutual
understanding between the parties in this
case that “virtually” no factual issues exist,
and that the parties would seek a stipulation
of facts that would permit resolution of the
case without resort to trial. Defendants base
their motion to amend on the grounds that
(1) plaintiffs counsel scheduled the deposi-
tion of a non-party witness, Tracy Ball, after
the deadline for filing dispositive motions;
and (2) defendants agreed to attend media-
tion in this case on a date after passage of
the deadline for filing dispositive motions
but before incurring the costs of filing dis-
positive motions Defendants contend that
the parties proceeded in this litigation under
two assumptions that (1) the parties “in-
tended to stipulate to the relevant facts and
file jointly for summary judgment”; and (2)
the parties would agree to such extensions of
time as were necessary to make such filings

Plaintiff has filed an Opposition to Motion
to Modify the Scheduling Order. [Doc. 17.]
Plaintiff argues that defendants have not
demonstrated excusable neglect for their

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(Cite as: 2009 wL 2929417 (E.D.Tenn.))

failure to file a dispositive motion prior to
the July 17j 2009 deadline as required by
Federal Rule of Civil Procedure
(6)(b)(1)(B), and that this Court must there-
fore deny defendants' motion

1n their Response to plaintiffs Opposition to
Motion to Amend Scheduling Order, [Doc.
18], defendants contend that Federal Rule of
Civil Procedure 6(b)( 11(131 is not applicable
because of the timely filing of their motion
to amend. Defendants further contend that
they have made a sufficient good cause
showing on the grounds that the deposition
of Tracy Ball and mediation were scheduled
after the dispositive motion deadline of July
17j 2009j and that judicial economy would
best be served by extending the dispositive
motion deadline Lastly, defendants argue
that plaintiff failed to make a showing of
prejudice in their response to defendants'
original motion

 

I. Analysis

Federal Rule of Civil Procedure 6(b1( 11(B)
provides that, “When an act may or must be
done within a specified time, the court may,
for good cause, extend the time on motion
made after the time has expired if the party
failed to act because of excusable neglect.”
1n this case, the deadline for filing disposi-
tive motions as agreed to by the parties in
the Scheduling Order-July 17j 2009-has ex-
pired. As a result, this Court may only grant
an extension of this deadline for good cause
and upon a showing by defendants that their
failure to file a dispositive motion prior to
the July 17j 2009 deadline was due to ex-

cusable neglect.EM

 

FNl. 1n defendants' response to
plaintiffs response in opposition to

Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/O9/O9 Page 53 of 81 Page|D 1523

Page 2

defendants' original motionj defen-
dants contend that their original mo-
tion to modify the Scheduling Order
was timely filed. Defendants do not
explain in their response why their
original motion was “timely filed,”
even though it was in fact filed
nearly a month after the dispositive
motion deadline Presumably, defen-
dants are arguing that they are not
late in filing because they have filed
a motion to amend the Scheduling
Order itself, instead of moving di-
rectly to extend the dispositive mo-
tion deadline Under either scenario,
however, the terms of Federal Rule
of Civil Procedure 6(b1( 11(B1 would
govern this Court's analysis given the
import of defendants' motion-i.e., the
extension of the already expired dis-
positive motion deadline

 

"2 1n assessing whether excusable neglect
exists, the Court must make an equitable de-
termination based upon (1) the danger of
prejudice to the nonmoving party; (2) the
length of the delay and its potential impact
on judicial proceedings; (3) the reason for
the delay; (4) whether the delay was within
the reasonable control of the moving party;
and (5) whether the late-filing party acted in
good faith. Pioneer lnv. Servs. Co. v.
Brunswick Assocs., 507 U.S. 380, 395, 113
S.Ct. 1489, 123 L.Ed.2d 74 (1993); see also
Nafziger v. McDermott lnt'l, lnc., 467 F.3d
514, 522 16th Cir_20061 (employing factored
analysis). Plaintiff, in its opposition to de-
fendants' motion, notes that the “Court may
assume good-faith,” and the Court agrees
that defendants have satisfied their burden
with respect to the last factor.

 

 

 

 

The four remaining factors, however, all

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(Cite asi 2009 wL 2929417 (E.D.Teiiii.))

weigh against defendants First, the danger
of prejudice to plaintiffj the nonmoving
party, is high. The deadline for the parties to
file dispositive motions passed nearly a
month prior to defendants' filing of their mo-
tion and without either party having filed a
dispositive motion Granting defendants'
motion at this stage would permit defendants
a second bite at an apple they have already
had ample time to consider and reject, and
would also require plaintiff to respond to a
summary judgment motion from defendants
the prospect of which plaintiff had previ-
ously abandoned.

Similarlyj both the length of the delay and
its potential impact on the judicial proceed-
ings are high. Defendants waited 28 days
after the cutoff for filing dispositive motions
to file their motion to amend. 1n addition, as
plaintiff points out, extending the dispositive
motion deadline to September 18 as defen-
dant requests would leave barely more than
five weeks between the due date of a reply
to a response to a summary judgment mo-
tion and the trial date of November 19. Such
a short window would leave little time for
the Court to consider and rule upon any dis-
positive motions filed prior to trial.

Third, the reason offered for the delay by
defendants is unpersuasive While defen-
dants' counsel may have reasonably assumed
that the parties intended to resolve this case
on motion papers alone, a decision to permit
the date for filing such motions to lapse
based solely upon that assumption does not
amount to “excusable neglect” under the
meaning of Federal Rule of Civil Procedure
6tb)(1)(B1. Also, while the Court is sympa-
thetic to defendants' “expectation” that the
parties would resolve the case without resort
to trial, there is nothing to suggest that de-

 

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fendants should have taken that expectation
as anything more than that: mere expecta-
tion.

1ndeed, defendants' own motion reflects a
lack of clear understanding between the par-
ties Defendants' assertion that there was
“virtually” no factual dispute in the case, by
implication, leaves open the possibility that
there is in fact a factual dispute in the case.
Defendants' further assertion that the parties
“agreed that they would determine whether
they could reach a stipulation of the relevant
facts” in view of summary judgment mo-
tions is nothing more than an agreement to
try to agree, not a conclusive agreement it-
self.w Further, while plaintiffs scheduling
of a deposition and of mediation after the
dispositive motion deadline might have sup-
ported defendants' perception of an intention
to resolve the case without resort to trial, it
may just as well have supported a perception
that triable issues of fact remained that
would ultimately necessitate resolution of
this case by the trier of fact.

w Plaintiff also asserts that this
“agreement” appears in the parties'
Rule 26(f) Report. [Doc. 8.] The Re-
port, however, notes only that “the
possible stipulation of facts in order
to enhance the filing of dispositive

motions will be addressed” (empha-
sis added).

"3 Finallyj it is plain that the delay was
within the reasonable control of defendants
1ndeed, defendants have offered no reason,
other than their own perception of the
agreement between the parties as to the
manner in which the litigation was to be
pursued, as to why defendants could not or
did not file a dispositive motion within the

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(Cite asi 2009 wL 2929417 (E.D.Teiiii.))

prescribed deadline Action in accordance
with that unilateral perception will not re-
move any resulting delay from the reason-
able control of defendants

II. Conclusion

Defendants have not demonstrated “excus-
able neglect” for their delay in filing dispo-
sitive motions prior to the dispositive motion
cutoff, and the Court does not find good
cause for defendants' delay. Defendants'
Motion to Amend Scheduling Order [Doc.
14] is hereby DENIED.

IT IS SO ORDERED.

E.D.Tenn,2009.

America's Collectibles Network, 1nc. v.
Syndicate 1414

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END OF DOCIH\/IENT

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(Cite asi 2009 wL 2916897 ov.n.okla.))

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Case 2:O8-cV-O2100-.]TF-cgc Document 155 Filed 11/O9/O9 Page 57 of 81 Page|D 1527

HOnly the Westlaw citation is currently available.
This decision was reviewed by West editorial staff and not assigned editorial enhancements.
United States District Court,
W.D. Oklahoma.
Joseph A. COURTRIGHTj Plaintiff,
v.
BOARD OF COUNTY CO1\/11\/11SS10NERS OF PAYNE COUNTY, Oklahoma, et al., Defendants.
No. CIV-08-230-D.
Sept. 4, 2009.
Jack S. Dawson, Miller Dollarhidej Oklahoma City, OKj for Plaintiff

Jennv L. Evans, Jodi S. Casev, Collins Zorn & Wagner PC, Oklahoma City, OK, for Defendants.

 

ORDER

TIMOTHY D_ DeGIUSTI, District Judge.

 

"1 Before the Court is Defendants' Motion to Strike Untimely Filed Opt-1n Notices [Doc. No. 62],
which seeks to exclude from this collective action under 29 U.S.C. § 216tb1 two persons who did not
timely consent to participate. Plaintiff has timely responded in opposition to the Motion, which is at is-
sue.

This action arises under the Fair Labor Standards Act (FLSA), 29 U.S_C. § 201 et seg.,M which author-
izes collective or class actions to recover unpaid minimum wages and overtime compensation but pro-
vides: “No employee shall be a party plaintiff to any such action unless he gives his consent in writing to
become such a party and such consent is filed in the court in which such action is brought.” 29 U.S.C.A.
§ 216(b1. On April 21j 2009j the Court conditionally certified a class of jailers and dispatchers employed
by the Payne County Sheriffs Department who allegedly were required to attend training and work
overtime hours without appropriate compensation On May 18, 2009, the Court approved a form of no-
tice to be given and a consent form to be completed and signed by putative class members The parties
mutually agreed on the proposed forms and on a deadline for opt-in plaintiffs to submit their written
consents The Notice issued by the Court provided: “1n order to join this lawsuit and to be represented
by Plaintiffs counsel, you must complete and return the attached ‘Opt-1n Consent to Sue Form’ by June
30, 2009j either by mailj fax or email to [Plaintiffs counsel].” See Notice Pendency Overtime Wages
Lawsuit [Doc. No. 52], § 2. The Notice also stated: “1f you fail to return the ‘Consent to Sue’ form to
Plaintiffs law firm in time for it to be filed with the federal court on or before the above deadline, then
you will not be able to participate in this lawsuit.” ld

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m By his Amended Complaint, Plaintiff has also added claims under Oklahoma wage laws
and a tort claim under Oklahoma common law for wrongful termination of employment in viola-
tion of a well-defined public policy. See, e.g., Burk v. K-Mart Corp., 770 P.2d 24, 28
tOkla_19891. Specifically, Plaintiff claims he was terminated for opposing Defendants' unlawful
wage practices The parties do not address how, if at all, these individual claims would be af-
fected by the certification of an FLSA class action in this case.

 

On July 13j 2009j Plaintiff filed a consent form signed by Scott Peterson dated July 6, 2009, which was
received by Plaintiffs counsel on July 8, 2009. See Notice [Doc. No. 60]. On July 14j 2009j Plaintiff
filed a consent form signed by Chris Ness dated June 30, 2009, which bears no date of receipt. See No-
tice [Doc. No. 61]. Defendants contend these two written consents should be disregarded because they
were not filed within the established deadline Plaintiff concedes the consents were untimely and filed
without obtaining permission to make a late filing Plaintiff contends, however, that untimeliness alone
is insufficient to warrant exclusion from this action of two potential plaintiffs who would otherwise be
forced to file separate, individual lawsuits

A district court may excuse a missed deadline upon a showing of “good cause,” subject to exceptions
not pertinent here. See Fed.R.Civ.P. 6tb1. After the deadline has expired, however, a court may grant an
extension only “on motion if the party failed to act because of excusable neglect.” See Fed.R.Civ.P.
61b)tl)tB1; see also Oui,<zley v. Rosenthal, 427 F.3d 1232, 1237-38 (10th Cir.20051. Here, Plaintiff has
neither filed a motion nor attempted to show excusable neglect; no reason is provided for the late filings
Accordingly, the Court cannot determine whether the relevant surrounding circumstances warrant a
finding that the neglect was excusable. See United States v. Torres, 372 F.3d 1159_ 1162 (10th
Cir_20041.FN2 The legal authority on which Plaintiff relies to argue for an extension of the opt-in dead-
linej Monroe v. United Air Lines, lnc., 94 F.R.D. 304 (N.D.111_1982)j is distinguishable.B 1n that case,
the plaintiffs moved for leave to add seven individuals who had filed their consent forms after the dead-
line and all seven “appear[ed] to have reasonable excuses for failing to meet the timetable.” ld at 305.

 

 

 

 

§1\12_. “Such circumstances include ‘[1] the danger of prejudice to the [nonmoving party], [2] the
length of the delay and its potential impact on judicial proceedings, [3] the reason for the delay,
including whether it was within the reasonable control of the movant, and [4] whether the
movant acted in good faith.’ ” United States v. Torres, 372 F.3d 1159_ 1162 (10th Cir_20041
(quoting Pioneer lnv. Serv. Co. v. Brunswick Assoc. Ltd P'ship, 507 U.S. 380, 395, 113 S.Ct.
1489, 123 L.Ed.2d 74 (19931).

 

 

 

FN3. Plaintiff also cites inapposite authorities 1n Kelley v. Alamo, 964 F.2d 747, 749 (8th
Cir.19921, the district court gave no notice of a deadline but “in effect, retroactively set a cutoff
date.”

 

"2 IT 1S THEREFORE ORDERED that Defendants' Motion to Strike Untimely Filed Opt-1n Notices
[Doc. No. 62] is GRANTED.

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IT 1S FURTHER ORDERED that the written consent forms filed on behalf of Scott Peterson [Doc. No.
60] and Chris Ness [Doc. No. 61] are STRICKEN and shall be disregarded.EU

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Westlaw

Noi Reporied in F.supp.2d, 2008 wL 4790729 (M.D.Fla.)
(Cite asi 2008 wL 4790729 (M.D.Fla.))

HOnly the Westlaw citation is currently avail-
able.

United States District Court, M.D. Florida,
Orlando Division.

Yervant COX, Jamari Deleon, George
Franceschi, Korey Walker, Edgar Serrano, Ger-
rell Lovette, David Sheets, and Joseph Fox,
Plaintiffs,

v.

APPLIANCE DIRECT 1NC., Defendant.
No. 6:08-cv-216-Orl-22DAB.

oct 29, 2008.

K. E. Pantas, Pantas Law Firm, PAj Orlando,
FL, for Plaintiffs

Christopher J. Coleman, Stuart D. Sloan,

 

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Schillinger & Coleman, PAj Melbourne, FL, for
Defendant.

Noel Raghonath, pro se.

Alfred Smith, pro se.

Sean Peterson, pro se.

Patrick Hejna, pro se.
ORDER

DAVID A. BAKERj United States Magistrate
Judge.

"1 This cause came on for consideration without
oral argument on the following motion filed
herein:

MOTION: MOTION TO ADD OPT IN PARTIES (Doc.
No. 79)
FILED: October 15, 2008

 

THEREON it is ORDERED that the motion is DENIED.

By Order dated August 1, 2008, the District
Judge granted Plaintiffs' Motion for Certifica-
tion of Collective Action and Permission to
Send Court-Supervised Notice (Doc. No. 40)
and ordered Plaintiff to “file all consents to join
. within sixty (60) days ...” (Doc. No. 69).
Plaintiffs counsel acknowledges that the dead-
line to file all opt-ins was October 2, 2008, but
asserts that after that date, Plaintiffs' counsel

“received twenty-one more Consent to Join
forms” (Doc. No. 79). He now seeks permission
to add those 21 out of time opt-ins as additional
plaintiffs in this matter, asserting that there is no
prejudice to Defendant and “the judicial re-
sources of this Court would be best utilized by
allowing the aforementioned opt-in Plaintiffs to
join the instant case.” ld Defendant objects,
noting the absence of a showing of good cause
to excuse the tardiness of the filing and asserting

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that it would, in fact, be prejudiced by the addi-
tion which more than doubles the number of
Plaintiffs in this matter (Doc. No. 94).

Plaintiff offers no showing as to why the opt-in
notices are untimely, save for merely acknowl-
edging that he received them after the deadline
This is insufficient The issue is not, as framed
by Plaintiffs counsel, why the Court shouldn't
allow the additional opt-ins, the issue is why the
Court should The formal Notice sent to poten-
tial collective action members included a provi-
sion entitled Deadline to Lloin Lawsuit, which
unambiguously provides: “1f you fail to return
the Consent form to the Pantas Law Firm, P.A.
by [the deadline] you will not be able to partici-
pate in this lawsuit.” (See Doc. Nos 66 and 69).
Deadlines are placed for a reason and absent a
showing of good cause, extensions are disfa-
vored. See, generally, Case Management and
Scheduling Order, Part11, B. (Doc. No. 70).

Further, the equities weigh in favor of enforcing
the deadline Although counsel contends that the
judicial resources favor allowing the latecomers,
this is not necessarily the case. As this is a col-
lective action and not a class action, opt-ins are
not barred from filing their own action or ac-
tions and, indeed, as previously noted by this
Court, the instant action followed several other
similar suits against this Defendant filed in this
district. EM There is no guarantee that allowing
these latecomers will prevent fiiture claims by
other employees As Defendant opposes the mo-
tion, noting that the number of potential opt-ins
more than doubles the collective class and thus
the discovery burden, and Plaintiffs counsel has
failed to make any showing of good cause for
missing the deadline, the motion is denied.

FNl. See Doc. No. 66 at pg. 4, citing
August Williams, Jr. v. Appliance Direct,
lnc., Case No. 6:07cv604-GAP-GJK

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(case since closed-not pled as a collec-
tive action); Llulio Maranon v. Appliance
Direct, lnc., Case No. 6;07cv1160-ACC-
DAB (case closed-pled as a collective
action, but case settled prior to any mo-
tion to certify collective action); and
Leonard Moore, et al. v. Appliance Di-
rect, 1nc. and Sei Pac, Case No. 6:08cv
317-ACC-DAB (currently pending, pled
as a collective action on behalf of “truck
driver” employees).

"2 DONE and ORDERED.

M.D.Fla.,2008.

Cox v. Appliance Direct 1nc.

Not Reported in F.Supp.2dj 2008 WL 4790729
(M.D.Fla.)

END OF DOCIH\/IENT

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Westlaw

Noi Reported in F.supp.zd, 2006 wL 3486739 (E.D.Pa.)
(Cite asi 2006 wL 3486739 (E.D.Pa.))

>Only the Westlaw citation is currently
available.

United States District Court,
E.D. Pennsylvania.
Esperanza MOYA; Fe Altagracia Moya;
Anita Perez; Victor Rivera; Jorge Hernan-
dez; and Alejandro Rosado, on behalf of
themselves and similarly situated employees
v.
PILGRIM'S PRIDE CORPORATION and
Maxi Staff, LLC.
Civil Action No. 06-1249.

Nov. 30, 2006.

1ra Neil Richards, Kenneth 1. Trujillo, Peter
D. Winebrake, Robert Andrew Santillo,
Trujillo Rodriguez & Richards LLC, Phila-
delphia, PAj Marv Walsh-Dempsev, Todd
O'Malley, O'Malley & Langan PC, Scran-
ton, PA, Robert E. Derose, Barkan Neff
Handelman Meizlish LLP, Columbus, OH,
Steven B. Barrett, Hamburgj Rubinj Mullin
& Maxwell, Lansdale, PAj for Plaintiffs

 

 

 

Carrie B_ Hoffman, John B. Brown, Gardere
Wynne Sewell LLPj Dallas, TX, Joseph E.
O'Neil, John 1. O'Donnell, Lavin O'Neil
Ricci Cedrone & Disipioj Philadelphiaj PAj
Mark A. Fontana, Renee C. Mattei Mvers,
Wolf Block Schorr & Solis-Cohen LLP,
Harrisburg, PAj for Defendants.

 

 

 

MEMORAND UMAND ORDER

JACOB P. HART, United States Magistrate
Judge.

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"1 This is one of three proposed class action
suits filed against Pilgrim's Pride Corpora-
tion, alleging violations of the Fair Labor
Standards Act. The present case is an “opt-
in” lawsuit. The court previously approved a
notice to potential class members The
court-approved notice was sent to the pro-
spective class members on June 1j 2006j and
clearly stated that the form had to be re-
turned on or before August 1, 2006.

1f you wish to join this lawsuit, the Federal
law requires you to complete the enclosed
Notice of Consent form and mail it to the
address at the bottom of the form. 1f you
mail a Notice of Consent form, you should
do so as soon as possible The form must
be postmarked on or before August 1,
2006.

(Court-Ordered Notice of Lawsuit, at 11 5).

According to the Defendants' 1\/lotionj 362
people have chosen to opt-in to the suit. Of
these 362 opt-ins, eight responses were post-
marked after the August 1, 2006 deadline 1n
their Motion, the Defendants seek to dismiss
these untimely consents

1n response, the Plaintiffs' counsel argue that
four of the eight untimely opt-ins should be
permitted to remain in this lawsuit because
they possess a justifiable basis for their un-
timely return of the notice. The Defendants
rely on the decision of the Honorable John
Fullam of this court in Vivone v. Acme Mar-
kets lnc., 687 F .Supp. 168 (E.D.Pa.19881,
in arguing that the untimely consents should
be dismissed Judge Fullam stated:

 

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[U]nnamed plaintiffs [do not] have an in-
terminable right to opt into ADEA class-
action lawsuits For examplej in the inter-
ests of justice, to facilitate trial preparation
and settlement discussions after allowing
a fair time for the filing of consents, a
court may declare the class closed.

ld at 169. According to the Defendants, “a
fair time” has passed. Thus, they ask that the
court to dismiss all of the untimely notices

At this point, our case is currently in discov-
ery and has not been listed for trial. The
Plaintiffs' counsel argues and our research
confirms that the court has equitable powers
in administering the scope of class action
suits and settlements

Courts which have considered requests to
extend deadlines for filing proofs of claim
and other settlement documents have gen-
erally subjected each request to a general
“good cause” analysis

ln re Cendant Corp. Prides Litigation, 189
F.R.D_ 32l 323 (D.N.J.l999)(ciiing Kprzazt
v. Western Elec. Co., 647 F.2d 388, 396 (3d
Cir.19811(affirming trial court's application
of a good cause standard to claims of plain-
tiffs who failed to opt-in to settlement by
deadline)).

 

 

 

This standard has been utilized in determin-
ing whether to allow untimely returned opt-
in notices in class action suits See Monroe
v. United/fir Lines, lnc., 94 F.R.D. 304, 305
tN_D.111.19821(untimely opt-ins had “rea-
sonable excuses” for failing to meet the
deadline); Robinson-Smith v. Gov't Employ-
ees lns. Co., 424 F.Supp.2d 117, 123-124
tD.D.C.2006)(“The addition of four opt ins
will not substantially prejudice the defen-

 

 

 

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dant and is consistent with a broad and
flexible reading of the [FLSA] and with the
Court's discretion in these matters”); Mey
v. Alamo, 964 F.2d 747, 749-50 (Sth
Cir.19921(“a generous reading [of the
FLSA] is also appropriate when consider-
ing issues of time limits and deadlines”).

 

"2 With respect to the eight untimely opt-
ins, we find that good cause exists to excuse
three of the opt-ins' untimely consents, and
that inclusion of these three people in the
suit does not prejudice the defense Ahmad
Moses explained in a letter he returned with
the notice that he did not receive the opt-in
notice until the end of the opt-in period be-
cause he was incarcerated in Atlanta, Geor-
gia. Despite his late receipt of the mailj Mr.
Moses signed the form on July 30, 2006j and
the return envelope was postmarked August
7, 2006. Because he did not have access to
the mail prior to that time, we will excuse
his late filing

Both Richard Huber's and Giovanny Alman-
zar's notices seem to have fallen prey to the
United States Postal Service's snail mail.
Both told counsel they returned the notices
shortly after signing them in early-mid July.
Yet, both are postmarked August 9, 2006.
We will not fault the Plaintiffs for the delay
in the mails

Plaintiffs' counsel also ask the court to per-
mit Sonia de Cardenas to participate in this
suit despite her untimely response to the opt-
in notice. Ms. de Cardenas's notice was not
returned until September 13, 2006. Accord-
ing to counsel, Ms. de Cardenas stated that
the notice got mixed up with junk mail in
the bottom of her hang-up mailbox. We do
not find that good cause exists to excuse this
untimely filing The notice was within Ms.

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de Cardenas's control. Had she “clean[ed]
out” the junk mail earlier, she could have
avoided the delay in the return of the notice.

Plaintiffs' counsel does not seek inclusion of
the remainder of the untimely opt-ins. How-
ever, we will proceed to explain our decision
to dismiss their untimely responses First,
there has been no explanation for the un-
timely return of the notice by Victor Hen-
derson. Therefore, his notice will be dis-
missed. Similarly, without any explanation,
Gennie High told counsel that she received
the notice late. This is insufficient for the
court to determine if good cause exists to
excuse her late filing We have no way of
knowing whether the delay in her receipt
was of her own doing.

Silvia Lua de Madrigal explained to counsel
that she did not return the form in a timely
fashion because she feared that the notice
was fake and that she would be retaliated
against if she were to return it. Despite this
fear, however, she did return it-seven days
late. We do not believe that she has estab-
lished “good cause” for this delay. See Ev-
ans v. Lowe's Home Centers, lnc., No.
3;CV-03-438 (M.D.Pa. Mar. 3,
2005)(Caputo, J.), at 4 (rejecting claimed
fear of retaliation to excuse untimely return
of opt-in notice).

Finallyj Lindha 1\/1. Calder Rodz did not re-
turn the notice until August 23j 2006. She
explained that she had moved prior to the
mailing of the notice. However, we have no
way of knowing whether the fault for the
delay lies with Ms. Rodz, for failing to ob-
tain the mail sent to her old address, or with
the Postal Service, for failing to timely for-
ward her mail. Without further explanation,
we cannot determine whether good cause

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exists for the untimely return of the notice.
"3 An appropriate Order follows
ORDER

AND NOW, this 30th day of November,
2006j upon consideration of the Defendant's
Motion to Dismiss Untimely Consents, the
response, thereto, and for the reasons stated
in the accompanying Memorandum, it is
hereby ordered that the Defendants' Motion
is GRANTED 1N PART and DENIED 1N
PART. To the extent the Motion seeks to
dismiss the consents of Sonia de Cardenas,
Victor Henderson, Gennie Highj Silvia Lua
de Madrigal, and Lindha Calder Rodz, the
Motion is GRANTED. 1n all other respects,
the Motion is DENIED.

E.D.Pa.,2006.

Moya v. Pilgrim's Pride Corp.

Not Reported in F.Supp.2dj 2006 WL
3486739 (E.D.Pa.)

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Noi Reported in F.supp.2d, 2004 wL l7l8420 (N.D.lll.)

(Cite as: 2004 WL 1718420 (N.D.Ill.))

>Only the Westlaw citation is currently
available.

United States District Court,
N.D. 111inois, Eastern Division
Hans G. HEITMANN Plaintiff,

v.
CITY OF CHICAGO Defendant.
No. 04 C 3304.

July 30, 2004.

Julie Sparling Desierto, Witwer, Poltrock &
Giampietro, Paul D. Geiger, Law Offices of
Paul D. Geiger, Chicagoj 1Lj for Plaintiff

Mara Stacv Georges, Tracev Renee Ladner,
Gia L. Morris, City of Chicago, Law De-
partment, Corporation Counsel, Chicagoj 1Lj
for Defendant.

 

MEl\/IORANDUll/I OPINIONAND ORDER
COAR, J.

"1 Plaintiff Hans Heitmann has filed this
action against the City of Chicago on behalf
of himself and other similarly situated plain-
tiffs who are or were employees of the Chi-
cago Police Department between May 10j
2001 and May 10, 2004. The Complaint al-
leges that during this three year period, the
Chicago Police Department violated the Fair
Labor Standards Act (FLSA) in its admini-
stration of accumulated compensatory time.
The case comes before the Court at this
early stage on the Defendant's Motion to
Strike and Bar Plaintiffs Notice and Con-
sent Forms

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1. BACKGROUND

Plaintiff contends that the Chicago Police
Department has been illegally denying offi-
cers' requests for accumulated compensatory
time. Plaintiff asserts that the Fair Labor
Standards Act requires requests for accumu-
lated compensatory time off to be granted
unless the granting of those requests would
“unduly disrupt” the department Pursuant to
federal regulations, “any employee of a pub-
lic agency who has accrued compensatory
time and requested use of this compensatory
time, shall be permitted to use such time off
within a ‘reasonable period’ after making
the request, if such use does not ‘unduly dis-
rupt’ the operations of the agency.” 2_9_
C.F.R. § 553.25ta1. The regulations further
define what constitutes an undue disruption
of the operations of the agency: “Mere in-
convenience to the employer is an insuffi-
cient basis for denial of a request for com-
pensatory time off. For an agency to turn
down a request from an employee for com-
pensatory time off requires that it should
reasonably and in good faith anticipate that
it would impose an unreasonable burden on
the agency's ability to provide services of
acceptable quality and quantity for the pub-
lic during the time requested without the use
of the employee's services” 29 C.F.R. §
553_25§d). Plaintiffs Complaint alleges that
the Chicago Police Department does not
comply with these requirements in its ad-
ministration of requests for compensatory
time off.

The case arises under Section 16(b) of the
FLSAj 29 U.S.C. § 216tb1. The statute pro-

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vides that a civil action may be maintained
“by any one or more employees similarly
situated.” 29 U.S.C. § 216tb1. The statute
further provides that “[n]o employee shall be
a party plaintiff to any such action unless he
gives his consent in writing to become such
a party and such consent is filed in the court
in which such action is brought.” ld The
pending motion challenges the adequacy of
the notice that Plaintiff provided to other
similarly situated individuals and the con-
sent form that Plaintiff provided to those
employees

11. DISCUSSION

Defendant has several objections to the
Plaintiffs notice and consent forms that
were provided to potential plaintiffs Firstj it
asserts that Plaintiff erred in failing to seek
leave of court to issue notice and consent
forms to the potential plaintiffs Second, it
asserts general and specific objections to the
form of the notice already provided. Third, it
asserts general and specific objections to the
form of the consent forms already provided.
The Court will address each objection in
turn

A. Plaintiffs Failure to Provide Notice Prior
to Distribution

"2 The Defendant contends that Plaintiffs
distribution of notice and consent forms was
improper because Plaintiff did not provide
notice to the Defendant nor did he seek
leave of the court. Plaintiff, in its response to
the motion, asserts that it was not aware of
any requirement to provide notice to defense
counsel or the Court prior to distributing no-
tice and consent forms. 1t is settled law in
this Circuit that Plaintiff must provide notice
to the Defendant prior to distributing notice

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and consent forms in FLSA actions under 2_9_
U.S.C. § 216tb1. See Woods v. New York
Life lns. Co., 686 F.2d 578, 580 (7th
Cir.19821 (holding it is improper for the
plaintiff to issue notice and consent forms
“without first communicating to the defen-
dant's counsel his intention to do so, so that
the defendant's counsel would have an op-
portunity to verify the accuracy of the notice
and, if he wished, to move for an order
amending the notice or limiting its distribu-
tion in an appropriate manner.”). Plaintiffs
ignorance of this requirement is somewhat
understandable as the Seventh Circuit, in
Woods, could not “find any express basis in
rule or statute” for the requirement of pro-
viding notice; instead, the requirement is
“inferred” from the statute and Rule 83 of
the Federal Rules of Civil Procedure, which
permits courts to regulate their own practice
consistent with the other federal rules ld
Nevertheless, the rule is more than twenty
years old now, and Plaintiff should have fol-
lowed it.

 

 

Plaintiff was not required, however, to seek
leave of the court prior to distributing the
notice and consent forms. Although many
courts have implemented this practice, it is
not required in FLSA cases 1ndeed, the
ideal scenario from the Court's perspective
would have the parties agreeing on the form
and content of these notice and consent
forms For failing to notify the Defendant
prior to distributionj howeverj Plaintiff will
be required to amend the notice and consent
form to bring them both into compliance
with the requirements of this opinion

B. Defendant's Objections to the Content of
the Notice

Defendant contends that the notice of the

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lawsuit that Plaintiffs provided to the poten-
tial plaintiff class was false and misleading
Defendant specifically complains that the
notice “does not accurately advise potential
plaintiffs of the issues in the complaint; their
rights with respect to joining the lawsuit; the
impact of joinder on their potential claims;
and their right to choose [separate] counsel.”
(Def. Mot. at 1-2.)

Plaintiff provided notice to other potential
plaintiffs in the June 2004 newsletter of the
Fraternal Order of Police, the FOP News
The Court has reviewed the notice in its en-
tirety.M Defendant's general objection to
the notice, that it is “false and misleading,”
is not well-founded. The notice may not in-
clude some information that the Defendant
believes is important, but it is neither false
nor misleading The Court also rejects De-
fendant's contention that the notice as pro-
vided does not accurately advise potential
plaintiffs of the issues in the lawsuit. The
Complaint alleges that the City has been il-
legally denying police officers' requests for
compensatory time. The notice explains the
Plaintiffs view of that practice in plain and
simple terms Nothing further is required.

m The FOP News included a
longer narrative description of the
lawsuit as well as a shorter descrip-
tion of the lawsuit above the consent
form. The shorter description reads
as follows:

On May 10j 2004, a lawsuit was
filed by our Lodge attorneys alleg-
ing that the City of Chicago has
violated the Fair Labor Standards
Act by refusing to grant compensa-
tory time. Any officer that has re-
quested to use compensatory time

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within the last three years and has
been denied may join the lawsuit
as a plaintiff Federal law does not
allow this lawsuit to proceed as a
class action All officers that wish
to join in the action must fill out
the consent form that appears be-
low and return it to the Lodge.

A similar lawsuit brought by Mil-
waukee police officers named bet-
ter than 1,800 officers as plaintiffs
The Fair Labor Standards Act re-
quires that when a timely request
to use compensatory time is made,
the Police Department can only
deny the request if it can demon-
strate that granting the request
would cause an “undue disruption”
in service. 1t is our contention that
the Department has been denying
the compensatory time requests il-
legally.

This consent form will only appear
in this issue and next month's issue
of the newsletter. The Lodge urges
all officers that have been denied
the use of comp time to join in the
action by filling out the form and
sending it to us. The use of comp
time is a pervasive problem
throughout the Department. 1f we
are going to be successful in mak-
ing real changes, we need your
help.

"3 Defendant also contends that the notice
fails to notify the potential plaintiffs of the
impact of joinder on their claims 1n tradi-
tional class actions, such a notice is neces-
sary because failure to join the suit can pre-
clude a potential plaintiff from ever bringing

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a claim. Representative actions under
Section 216(b) of the FLSA, however, are
not traditional class actions Failure to join a
representative action under Section 216tb)
does not affect a plaintiffs right to bring an
action in the future. 1n these cases, it is not
required to inform the class of potential
plaintiffs of the impact of joinder on their
claims in the notice of a lawsuit.

Defendant's remaining two objections to the
content of the notice are that it does not in-
form the potential plaintiffs of their rights
with respect to joining the lawsuit nor of
their ability to choose separate counsel.
These objections are well grounded. Both of
these pieces of information should be in-
cluded in the notice to provide potential
plaintiffs with an understanding of their full
panoply of rightsj including their right to
select separate counsel, their right to bring a
separate action, and their right not to sue.

C. Defendant's Objections to the Consent
Form

Defendant contends that the consent form
Plaintiff provided to potential plaintiffs is
inaccurate and misleading because it does
not state the issues presented by the lawsuit.
Defendant also complains that the consent
form does not allow potential plaintiffs to
elect separate counsel.

As to the latter objection, the consent form
should allow potential plaintiffs to elect
separate counsel. 1t imposes a de minimus
burden on Plaintiff to allow potential plain-
tiffs to elect their representative on the con-
sent form. This provides appropriate respect
to the potential plaintiffs right to elect coun-
sel of their own choosing in this case. With
respect to the former objection, the consent

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form is not required to state all the issues
presented by the lawsuit. All the consent
form is required to do is clearly express the
individual's consent to be a plaintiff in the
lawsuit.

Although the Defendant does not mention it
specifically, the consent forms Plaintiff has
distributed are additionally insufficient be-
cause they do not mention this lawsuit by
name or by number The consent of potential
plaintiffs to join this lawsuit must be spe-
cific to the lawsuit currently pending before
this Court. The final consent forms must in-
clude the case number and the case name.

D. Defendant's Proposed Notice and Con-
sent Forms

Defendant has provided the Court with an
alternative notice form that it would like the
Plaintiff to use when notifying other poten-
tial plaintiffs Although Defendant's pro-
posed notice and consent forms would be
adequate, the Court will not order the Plain-
tiff to use the Defendants' proposed forms.
“The Court has both the power and the duty
to ensure that the notice is fair and accurate,
[but] that power should not be used to alter
plaintiffs' proposed notice unless such al-
teration is necessary.” King v. ITT Continen-
tal Baking Co., No. 84 C 3410, 1986 WL
2628, at *3 (N.D.Ill. Feb.l8_ 1986) (Rovner,
J.). There are myriad minor variations in the
presentation of information that might make
a difference to the parties in the case. As one
examplej the Plaintiff may want to generate
the notice on the stationery of its law firm
rather than a page headed with a formal case
caption The only thing that matters to the
Court is that the notice of lawsuit and con-
sent form convey accurately and fairly all
the necessary information at this stage.

 

 

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Noi Reported in F.supp.2d, 2004 wL l7l8420 (N.D.lll.)
(Cite as: 2004 wL 1718420 (N.D.Ill.))

For the reasons set forth above, Defendant's

"4 Plaintiff also makes the bizarre conten- Motion to Strike Plaintiffs Notice and Con-
tion that the Defendant's forms refer to a re- sent Forms is granted.

taliation claim “that does not appear in the

pleadings” (Pl. Resp. Def. Mot. Strike at 4.) N.D.Ill.,2004.

Plaintiffs Complaint alleges that defendant Heitmann v. City of Chicago

“retaliat[ed] against some who asserted Not Reported in F.Supp.2d, 2004 WL
rights under the FLSA and thereby intimi- 1718420(N.D.111.)

dat[ed] others from asserting similar rights”

(Comp.jl 3.) Defendant seeks to “accept END OF DOCUi\/IENT

Plaintiffs response as a motion to withdraw
his claim of retaliation” (Def. Reply Mot.
Strike at 4.) Defendant's suggestion is not
the way this Court prefers to do business
Any party seeking to change the content of
its pleadings must do so clearly and in writ-

ing.
111. CIVILITY

At this stage, this case is still in its infancy.
The distribution of notice and consent forms
in FLSA cases is a relatively straightforward
matter. Nevertheless, the submissions of
both sides demonstrate that somehow they
have each managed to whip themselves into
a froth over it. Plaintiff accuses the Defen-
dant of filing a frivolous or immaterial mo-
tion as a delay tactic. (Pl. Resp. Def. Mot.
Strike at 1, 3.) Defendant accuses the Plain-
tiff of disingenuousness. (Def. Rep. Mot.
Strike at 4, 7.) This level of rancor is en-
tirely unnecessary and can only delay the
disposition of this case. 1n fiiture submis-
sions to this Court, the parties would be
well-advised to focus more of their attention
on the factual and legal issues presented and
less of their attention on placing barbs under
the skin of their opponent: such barbs can
find their way under the skin of the Court.

CONCLUSION

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Noi Reported in F.supp.zd, 2007 wL 3396303 (D.N.J.)
(Cite asi 2007 wL 3396303 (D.N.J.))

>Only the Westlaw citation is currently
available.NOT FOR PUBLICATION

United States District Court,
D. New Jersey.

Jeffrey BOUDERj Brian C. Kennedy and
Carol Kennedy, individually, and on behalf
of all others similarly situatedj Plaintiffsj
v.

PRUDENTIAL FINANCIAL, INC., The
Prudential 1nsurance Company of Americaj
Does 1-50 (said names being fictitious indi-
viduals), and ABC Corporations 1-50 (said
names being fictitious companies, partner-
ships, joint ventures and/or corporations),
Defendants.

Civil Action No. 06-CV-4359 (DMC).

Nov. 8, 2007.

James V. Bashian, Law Office of James V.
Bashianj PC, Fairfieldj NJ, for Plaintiffs

Christopher H. Lowe, Sevfarth Shaw, LLP,
Tara Smith Williams, Seyfarth Shawj LLP,
New York, NY, for Defendants.

OPINION

DENNIS 1\/1. CAVANAUGH, District
Judge.

 

"1 This matter comes before the Court upon
motion by Defendants Prudential Financial,
1nc. and The Prudential 1nsurance Company
of America (collectively “Defendants”) to
require Plaintiffs to cease and desist from
their attempted notice and mass communica-
tions to putative plaintiffs Pursuant to

Filed 11/O9/O9 Page 70 of 81 Page|D 1540

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FED.R.CIV_P. 78, no oral argument was
heard. After carefully considering the sub-
missions of the parties, and based upon the
following, it is the finding of this Court that
Defendants' motion to require Plaintiffs to
cease and desist from their attempted notice
and mass communications to putative plain-
tiffs is granted.

1. BA CKGRoUNl) EM

m The facts set forth in this Opin-
ion are taken from the undisputed
facts set forth in the parties'
FED.R.CIV.P. 56.1 statements in
their respective moving papers

The Complaint, filed by Plaintiffs on Sep-
tember 15j 2006, purports to bring a class
action on behalf of Plaintiffs and other indi-
viduals who are not parties to this action,
from September 15, 2000 through the pre-
sent, seeking to recover damagesj inter alia,
for alleged failure to pay overtime and
unlawful deductions from pay, in violation
of the Fair Labor Standards Act (“FLSA”)
and Pennsylvania state law. Defendants
deny Plaintiffs' substantive allegations

On February 20j 2007, Magistrate Judge
Mark Falk entered a scheduling order, as
modified on May 23 and July 1j 2007j pro-
viding that (1) discovery with respect to
conditional certification of Plaintiffs' FLSA
claims shall be completed by August 31,
2007; (2) motions for conditional certifica-
tion to facilitate notice to putative class
members pursuant to 29 U.S.C. § 216tb1 of
the FLSA (and other motions) shall be filed
by September 15, 2007; and (3) opposition

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briefs and reply briefs shall be filed by Oc-
tober 17 and October 31, 2007, respectively
(“Scheduling Order”).

To date, Plaintiffs have not filed a motion
seeking conditional class certification to fa-
cilitate notice to putative class members
Therefore, the first phase of discovery for
the FLSA claims has not been completed.
Nevertheless, on July 24j 2007j Plaintiffs'
counsel informed Defendants' counsel that it
intended to send a letter and “Consent To
Sue” form to putative class members prior to
the Court ruling on Plaintiffs' motion for
conditional certification and application for
notice to putative class members, as required

by 29 U.S.C. § 216tb1 of the FLSA and
Scheduling Order.

II. DISCUSSION

Notwithstanding the Court Order, this Court
recognizes the low standard required for
conditional certification for purposes of no-
tice. At the notice stage, the court “usually
has only minimal evidence before it” and
thus, “determination is made using a fairly
lenient standard.” See Morisky v. Pub. Serv.
Elec. & Gas Co., 111 F.Supp.2d at 497
(quoting Thiessen v. Gen. Elec. Capital
Corp., 996 F.Supp. 1071, 1080
tD_Kan19981). Further, this Court recog-
nizes Plaintiffs' counsel's right to solicit po-
tential clients See Hoffman-LaRoche, lnc. v.
Sperlin,q, 493 U .S. 165 (1989). Neverthe-
lessj Plaintiffs' must abide by the appropriate
court procedures

 

 

 

 

"2 Plaintiffs' counsel's proposed letter (“Let-
ter”) usurps this Court's power and statutory
duty to oversee the FLSA-mandated process
for court-facilitated notice to potential col-
lective action members, including the fair

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content of such notice. More fundamentallyj
it preempts this Court's ability to determine
whether and to whom class-wide notice is
appropriate. See Hoffmann-La Roche, lnc.,
493 U.S. at 169. With this mass communica-
tion, Plaintiffs are flouting the statutory
framework for opt-in collective actions, the
Scheduling Order and this Court's authority
to oversee notice to the putative class.
Therefore, the letter is essentially an im-
proper and unauthorized de facto notice.

 

The Supreme Court of the United States has
made clear that a district court has a mana-
gerial responsibility to oversee the process
by which putative class members are given
notice of, and allowed to join, a § 216tb)
collective action See Ho:Zmann-La Roche
493 U.S. at 169. Court supervision of any
notice issued to putative class members is
necessary in an FLSA collective action be-
cause “the potential for misuse of the class
device, as by misleading communications
may be countered by court-authorized no-
tice.” ld at 171. The Court also emphasized
the “wisdom and necessity for early judicial
intervention in the management of litiga-
tion” as “[o]ne of the most significant in-
sights that skilled trial judges have gained.”
ld The Court noted that, “[b]y monitoring
preparation and distribution of the notice, a
court can ensure that the notice is timelyj
accurate, and informative Both the parties
and the court benefit from settling disputes
about the content of the notice before it is
distributed.” ld at 172.

Outside the context of a notice process su-
pervised by the Court, plaintiffs' attorneys
are not permitted unilaterally to send unso-
licited notices regarding the case to putative
FLSA class members not yet parties to an
action conditionally certified by the Court.

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See, e.g., Woods v. New York Life lns. Co.,
686 F.2d 578, 580 (7th Cir.19821; Melendez
Cintron, et al. v. Hershey P.R., lnc., 363
F.Supp.2d 10_ 17-18 (D.P.R.2005); Taylor v.
CompUSA lnc., Civ. Action No. 04-CV-
0718_ 2004 WL 1660939, at ”‘3 (N.D. Ga.

June 295 20041.

 

 

 

 

 

 

Moreover, before an individual plaintiff may
give notice to other potential class members
of their right to opt-in as a party to an FLSA
lawsuit, the district court has the discretion-
ary authority whether to approve the notifi-
cation of the putative class members See
Hipp v. Liberty Nat'l Life lns. Co., 252 F.3d
1208_ 1218-19 (llth Cir.20011; Reab v.
Electronic Arts, lnc., 214 F.R.D. 623, 630-
31 tD.Colo.2002). Here, Plaintiffs have nei-
ther sought, nor received this Court's per-
mission to proceed as a collective action and
begin notice pursuant to § 216(b1. Plaintiffs'
counsel, therefore, should be prohibited
from sending their letter to putative plain-
tiffs and required to seek the Court's ap-
proval, pursuant to a proper motion to facili-
tate notice consistent with the Court's
Scheduling Order, before attempting to no-
tify putative plaintiffs of this case.

 

 

 

"3 Furtherj Plaintiffs' counsel's solicitation
to putative class members is improper be-
cause it is deceptive, misleading and con-
tains numerous false statements Courts have
consistently held that litigants (and their
counsel) may not make pre-certification
statements to putative class members that
are inaccurate or misleading or that present
one-sided assertions as undisputed or un-
qualifiedly true. See, e.g., Taylor, 2004 WL
1660939, at *3; Gerlach v. Wells Far,qo &
CO., Civ. Action No. 05-CV-0585, 2006 WL
824652, at *4 (N.D.Cal. Mar. 28, 2006); see
also Gulf Oil Co. v.. Bernard, 452 U.S. 89,

 

 

 

 

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102 (19811; ln re Community Bank ofN. Va
., 418 F.3d 277, 311 (3d Cir_20051.

 

 

Plaintiffs' counsel seeks to send the Letter
and consent form to “all registered represen-
tatives,” regardless of the title or position the
individual held while employed by Defen-
dants. Plaintiffs have not established that the
various positions that fall under the category
of “registered representatives” are similarly
situated to their positions, that the positions
are similarly situated to one another, or that
the employees who occupied the positions
are similarly situated to each other or to the
named Plaintiffs Conversely, Defendants
contend that many of the positions included
in Plaintiffs' putative class of “all registered
representatives” are materially different
from, and have a conflict of interest with,
each other and with the named representa-
tives who purport to represent their class. As
a result, these positions are not properly
joined together as positions eligible to join
the lawsuit. See, e.g., Threatt v. Residential
CFR lnc., Civil Action No. 05-CV-117,
2005 WL 2454164, at *4 (N.D .1nd. Oct. 4q
20051. Accordingly, Plaintiffs' counsel's Let-
ter is misleading to the extent it suggests to
putative class members that they are eligible
to participate in this lawsuit collectively. See
Taylor, 2004 WL 1660939, at *3.

 

 

 

III. CONCL USION

For the reasons stated, it is the finding of
this Court that Defendants' motion to require
Plaintiffs to cease and desist from their at-
tempted notice and mass communications to
putative plaintiffs is granted. An appropri-
ate Order accompanies this Opinion

D.N.J.,2007.
Bouder v. Prudential Financial, 1nc.

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HOnly the Westlaw citation is currently
available.

United States District Court,
N.D. Texas,
Wichita Falls Division
Victoria KLEIN, et al.j Plaintiffsj
v.

O'NEAL, 1NC., d/b/a O'Neal, Jones &
Feldman Pharmaceuticals, et al ., Defen-
dants.

Civil Action No. 7:03-CV-102-D.

April 29, 2009

Arthur John Brender, Law Office of Art
Brenderj Dwain Dent, Dent Law Firmj
Frederick L_ Streck_ 111j Dent Law Firm,
Fort Worth, TX, for Plaintiffs

 

Barrv Alan Chasnoff, David R. Nelson,
Roberta 1. Benson, Akin Gump Strauss
Hauer & Feld, San Antonio, TXj Jeffrey 1\/1.
Goldfarb, Dla Piper US LLP, Dallasj TX,
for Defendants.

 

MEl\/IORANDUll/I OPINIONAND ORDER

SIDNEY A. 111”1`ZVW3[1`ERj Chief Judge.

 

"1 1n this class action alleging personal in-
jury and death claims arising from the
manufacture and distribution of E-Ferol
Aqueous Solution (“E-Ferol”), Lawrence V.
Longj Jr. (“Long”) moves for leave to opt
out of the certified class. Although the dead-
line for opting out expired more than two
years ago, Long contends that his failure to
comply with the deadline should be excused
as a matter of procedural due process and on

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the basis of excusable neglect. The other
class plaintiffs (collectively, “class plain-
tiffs” unless the context otherwise requires)
and defendants O'Neal, 1nc., d/b/a O'Neal,
Jones & Feldman Pharmaceuticals, CVS
Revco D.S., 1nc., and Retrac, 1nc. oppose the
motion For the reasons that follow, the
court declines to allow Long to opt out of

the class at this time.F_M

m On June 23j 2008, at the par-
ties' request, the court entered an or-
der staying this litigation so that the
parties could pursue settlement The
court lifts the stay to the extent nec-
essary to decide this motion

1

To decide Long's motion, the court need not
recount at length the background facts and
procedural history of this case. The court
will focus instead on the facts that apply to
Long's failure to timely opt out. This is a
class action alleging personal injury and
death claims arising from the manufacture
and distribution of E-Ferol, a pharmaceutical
product administered intravenously to pre-
mature infants between November 1983 and
April 1984. 1n 2004 Judge Buchmeyer, be-
fore whom the case was then pending, certi-
fied a plaintiffs class consisting of

[a]ll persons in the United States, including
any estate representatives or heirs of de-
ceased persons, who, during the period
from November 1j 1983j until April 30,
1984j were administered E-Ferol. Included
in the class are parents, spouses, children,
guardians, and legal representatives of

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such persons with direct or derivative
claims

http://www.westlaw.com/Find/Default.wl?rs
=dfal .0&vr=2.0&DB=3 44&FindTvpe=Y&
ReferencePosition-

Tvpe=S& SerialNum=2004472152&Referen
cePosition=566Klein v. O'Neal, lnc., 222
F.R.D. 564, 566 (N.D.Tex.20041 (Buch-
meyer, J.). w 1t is undisputed that Long,
whose late daughter was administered E-
Ferol in March and April 1984, is a member
of the class. Long's daughter received E-
Ferol while in the neonatal intensive care
unit at Miami Valley Hospital (“Miami Val-
ley”) in Dayton, Ohio, and she subsequently
died in June 1984.

 

 

 

 

 

§1\12 1n 2008 the court raised sua
sponte that the class certification de-
cision should be reconsidered, and it
directed the parties to submit sup-
plemental briefing addressing
whether the class should be decerti-
fied or modified. See Klein v.
O'Neal, lnc., 2008 WL 2152030 at
*9 (N.D.Tex. Mav 22, 2008) (Fitz-
water, C.J.). Before the supplemental
briefing was completed, the court
stayed the proceedings in this case.
See supra note 1.

 

 

Following certification of the class, class
counsel began the process of locating class
members On July 10, 2006 class counsel
mailed individual class notices to class
members whom they had been able to lo-
cate. Class counsel had been unable to ob-
tain records, however, from several hospitals
known to have administered E-Ferol, includ-
ing Miami Valley. Thus on July 13, 2006,
after receiving the court's approval, class

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counsel published the class notice in 35
newspapers across the country, including
T he Dayton Daily News (Dayton, Ohio), T he
Blade (Toledoj Ohio)j and USA Today. Long
does not dispute that he and his wife resided
in Dayton in July 2006. The court set Sep-
tember 11, 2006 as the opt-out deadline

Class counsel continued to pursue records
concerning potential class members from
Miami Valley, and they subsequently se-
cured them in October 2007. After identify-
ing Long as a class member, class counsel
sent Long and his wife a November 1j 2007
letter informing them of this class action and
of their class membership Long asserts that
he received this letter on November 5j 2007 ,
and that this was the first time he or his wife
had any knowledge or reason to believe that
their daughter's death was caused by E-
Ferol. On November 7, 2007 Long contacted
a representative of class counsel and dis-
cussed the case, and on November 13j 2007
he completed a questionnaire and medical
authorization Long does not dispute that he
was aware of, and had access to, the class's
website, which included the pleadings, the
class action notice, and the court's orders
and decisions 1n December 2007 Long and
his wife signed declarations attesting to their
lack of knowledge concerning the admini-
stration of E-Ferol to their daughter, and
these declarations were attached to “Class
Plaintiffs' Supplemental Response in Oppo-
sition to Defendants' Motion for Partial
Summary Judgment: Limitations” Class
counsel procured more medical records from
Miami Valley in January and February
2008j and class plaintiffs' experts analyzed
them and concluded thatj in their opinionj E-
Ferol was a substantial cause of the death of
Long's daughter Long was advised of this
finding in May 2008, at which time he in-

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formed a representative of class counsel that
he planned to sue Miami Valley, who is not
named as a defendant in the class action

"2 Long asserts that, in December 2007j his
wife's cancer, which had been in remissionj
returned. His wife died on June 13j 2008.
Long asserts that, during his wife's illness,
he devoted his time and energy to caring for
her and for their children, and that he was
unable during this time to seek legal advice
or to take legal action concerning his de-
ceased daughter

1n August 2008 Long contacted his current
counsel, John B. Pinney, Esquire (“Pin-
ney”), and he formally retained Pinney on
September 4, 2008. Pinney was permitted to
appear in this case on behalf of Longj and in
September and December 2008 he obtained
medical records relating to Long's daughter
On October 8, 2008 Long was appointed
administrator of his daughter's estate. He
filed the instant motion for leave to opt out
on January 9, 2009.

11

Long contends that he should be permitted
to opt out as a matter of procedural due
process His due process argument is con-
clusory and vague, and he cites no case law
to support it. Essentially, Long argues that
because he did not receive actual notice of
the class action until after the opt-out dead-
line had expired, he must now be given an
opportunity to opt out.

A

The court certified the class in this case un-

der Fed.R.Civ.P. 231b1(3 1, pursuant to which

class members are given an opportunity to

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opt out of the class See Amchem Prods.
lnc. v. Windsor, 521 U.S. 591, 592-93, 117
S.Ct. 2231, 138 L.Ed.2d 689 (1997). Addi-
tionallyj under Rule 23tc)t21 tB[, members
of a class certified under Rule 23tb)t31 must
be afforded “the best notice that is practica-
ble under the circumstances including indi-
vidual notice to all members who can be
identified through reasonable effort.” Bu_le
23tc)(2)tB1. The notice given under M_le
23tc)t2)tB1 must contain certain informa-
tion, including the fact that class members
may request exclusion from the class, the
time and manner for requesting exclusion,
and the binding effect of a judgment on class
membersB See id The Rule 23(c)t2)(B1
standard also fiilfills due process require-
ments See Eisen v. Carlisle & Jacauelin,
417 U.S. 156, 173-74, 94 S.Ct. 2140, 40
L_Ed.2d 732 119741. 1t is well established
that notice by publication can satisfy due
process when information required to iden-
tify individual class members cannot be pro-
cured through reasonable effort. See id (re-
quiring that class members whose names
and addresses can be ascertained through
reasonable effort be individually notified);
Ho,qe v. Parkway Chevrolet, lnc., 2007 WL
3125298, at *18 (S.D.Tex. Oct.23, 2007)
(“Courts have found that publication notice
can satisfy Rule 23.” (citing numerous
cases)); ln re Vivendi Universal, S.A., 242
F.R.D. 76, 107 (S.D.N.Y.2007) (“While in-
dividual notice, where reasonably possible,
is required, when class members' names and
addresses may not be ascertained by reason-
able effort, publication notice has been
deemed adequate to satisfy due process”);
ln re Prudential lns. Co. ofAm. Sales Prac-
tices, 177 F.R.D. 216, 232 (D.N.1.1997)
(“For those whose names and addresses
cannot be determined by reasonable efforts,
notice by publication will suffice under Bu1e

 

 

 

 

 

 

 

 

 

 

 

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23(c)(21 and under the due process clause.”
(citing Mullane v. Cent. Hanover Bank &
Trust Co., 339 U.S. 306i 317-18, 70 S.Ct.
652_ 94 L_Ed_ 865 (1950))). 1fa class mem-
ber receives the best notice practicable and
fails to opt out by the deadline, he is bound
by the court's actions concerning the class,
including settlement and judgment.EU See
Amchem Prods., 521 U.S. at 592-93;
Reppert v. Marvin Lumber & Cedar Co.,
359 F.3d 53, 56-57 (lst Cir.20041 (citing
Cooper v. Fed Reserve Bank of Richmond,
467 U.S. 867, 874, 104 S.Ct_ 2794, 81

L.Ed.2d 718 t 19841).

 

 

 

 

 

 

 

 

§1\_13; Because Long does not dispute
the sufficiency of the contents of the
notice, the court need not discuss the
requisite contents in detail.

EM Although Long does not rely
on Rule 23te)t41 as a basis for the re-
lief he seeks, the court recognizes
that if this case settles, it may in its
discretion refiise to approve the set-
tlement unless class members are
given a second opportunity to re-
quest exclusion from the class. See
Rule 23(e)(41 (“1f the class action
was previously certified under R_u_l_e
23tb)(31, the court may refiise to ap-
prove a settlement unless it affords a
new opportunity to request exclusion
to individual class members who had
an earlier opportunity to request ex-
clusion but did not do so.”). The pos-
sibility, however, that there may be
another opportunity to opt out in the
context of a settlement does not of it-
self provide a rationale for granting a
class member's request for exclusion
that is untimely under the first opt-
out deadline imposed in accordance

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with Rule 231c1§21tB1§vi1. 1f it did,

the mere possibility of a second opt-
out opportunity arising in connection
with a settlement could undermine
the binding effect of the first opt-out
deadline that applies regardless
whether a class action is settled.

B

"3 Long does not contend that he could have
been identified through reasonable effort.
Nor does he posit that the notice undertaken
at the court's direction was not the best no-
tice practicable under the circumstances or
was otherwise insufficient He argues in-
stead that, even if he did have constructive
notice and it was the best notice practicable,
he must be given an opportunity to opt out
after receiving actual notice. According to
Long, he “does not dispute that the notice by
publication where the class member does not
have actual notice may, in some circum-
stances, be deemed to afford adequate due
process” Long Reply Br. 4. But he contends
that “the issue here is not whether [he] was
given proper notice-it is whether he can now
opt out of the class when he, effectively, was

never given the opportunity to do so before.”
ld

Long's argument misunderstands the nature
of constructive notice and the notice re-
quirements. 1f a class member is given
proper notice, such as constructive notice by
publication, he is deemed to have been given
the opportunity to opt out. To hold that a
class member who receives actual notice of
a class action after the opt out deadline must
always be given another opportunity to opt
out, even though he received constructive
notice before the deadline, would defeat the
purpose of constructive notice. Actual notice

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would be the only type of notice that could
bind a class member But actual notice is not
invariably required. See, e.g., Eisen 417
U.S. at 173-74; ln re Nissan Motor Corp.
Antitrust Litig., 552 F.2d 1088, 1097 (5th

Cir.19771.

 

 

 

Long appears to recognize the flaw in his
argument, so he also argues that notice by
publication only satisfies due process after a
final judgment is entered in the case or a set-
tlement is fully consummated According to
Longj if there has been no final judgment or
settlement in the class action, a class mem-
ber must be given an opportunity to opt out
after receiving actual notice, even if he has
already received constructive notice. Long
cites no authority for this proposition, and
the court has found none. The court holds
that an opt-out deadline may bind a class
member who has received the best notice
practicable, regardless whether there has
been a final judgment or settlement in the

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§1\15_. As noted, see supra note 4,
Long does not base his motion or
any of his arguments on the possibil-
ity of a second opt-out under Bu_le
23te)(41. Moreover, the court's dis-
cussion in this context is not in-
tended to relate to circumstances in
whichj in its discretion, it “affords a
new opportunity to request exclu-
sion” as a condition to approving a
settlement

The reasoning that appears to underlie
Long's contention is that, if there has been
no final judgment or settlement, there can be
no prejudice to other parties in allowing him
to opt out after the deadline The court dis-
agrees Both defendants and class plaintiffs

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oppose Long's motion, contending that they
will be substantially prejudiced if he is al-
lowed to opt out. This case has been stayed
since June 23, 2008 so the parties could fo-
cus on negotiating a settlement Long and
Pinney have been aware of the settlement
discussions since at least September 2008.
Both sides are concerned that allowing Long
to opt out now would undermine the pro-
gress they have made and hinder their ability
to reach a mutually acceptable settlement 1f
Long is permitted to opt out, defendants will
be forced to separately defend his individual
lawsuit. This not only prejudices defendants
but also the other members of the plaintiffs
class. 1n a class action settlement setting,
defendants seek and pay for global peace-
i.e., the resolution of as many claims as pos-
sible. Accordingly, allowing plaintiffs to opt
out of a class action after the deadline and
during a period of active settlement negotia-
tions so that they can pursue their claims
individually can make settlement less valu-
able to defendants and less likely to occur.
Such opt-outs can in turn reduce the lever-
age of the plaintiffs class and the settlement
value of the case. 1n addition to forcing de-
fendants to defend Long's individual law-
suit, allowing Long to opt out would create
the potential for other similarly situated
class members to request exclusion Al-
though the prejudice to the opposing parties
may not be as severe as it would be in a case
where a settlement has already been reached
and approved, the parties would still be
prejudiced if Long were permitted to opt out

at this time.EM

FN6. As beforej see supra notes 4
and 5, the court is not addressing the
possibility of a second opt-out period

under Rule 23te)t41. Moreover, the
court's reasoning applies regardless

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of the possibility of a second opt-out.
When parties negotiate the settle-
ment of a certified class action, they
presumably factor in the possibility
that the court may exercise its discre-
tion to allow a new opportunity for
individual class members to request
exclusion But this is a predictable
rule-based consideration that poten-
tially applies in every case in which
a class is certified under Rule 23tb1
(2) The prospect of untimely opt-
outs scattered along the path between
class certification and a tentative set-
tlement agreement-particularly dur-
ing a time of active settlement nego-
tiations-is less predictable (if not un-
predictable) and can hamper the set-
tlement of a class action that is in
fact fair, reasonable, and adequate to
class members

"4 The court concludes that due process
does not require that Long be given another
opportunity to opt out after receiving actual
notice of the class action Long received
constructive notice through publication in
July 2006. He does not dispute the suffi-
ciency of this notice. He therefore had the
opportunity to opt out before the September
11j 2006 deadline. Because publication no-
tice can satisfy due process, Long does not
have the right to opt out now, more than two
years after the deadline expired.

111

The court also holds that, even if Long was
due another opportunity to opt out after he
received actual notice of the class action, he
did not exercise it within a reasonable time.

A

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Long asserts that he received actual notice
on November 5, 2007. He did not move for
leave to opt out until January 9, 2009j more
than 14 months later. Long contends that the
court should excuse this delay and permit
his untimely opt out based on excusable ne-
glect. See Rule 6(b)(1)(B) (“When an act
may or must be done within a specified
time, the court may, for good cause, extend
the time on motion made after the time
has expired if the party failed to act because
of excusable neglect.”). The court finds that
Long's delay and untimely opt out should
not be permitted on this basis

1n determining whether a party should be
granted additional time to opt out based on
excusable neglect, the court should apply the
factors set forth in Pioneer lnvestment Ser-
vices Co. v. Brunswick Associates L.P., 507
U.S. 380, 395, 113 S.Ct. 1489, 123 L.Ed.2d
74 (19931. See Silvercreek Mgmt. ., lnc. v.
Banc ofAm. Sec., LLC 534 F.3d 469, 472
15th Cir.20081. “Under [Pioneer lnvestment
Services ]j the court is to consider prejudice
to the opposing party, length of the delay,
and reason for the delay in determining
whether the claimant's neglect was excus-
able and the delay was made in good faith.”
ld The determination whether a delay is ex-
cusable “is at bottom an equitable one, tak-
ing account of all relevant circumstances
surrounding the party's omission” Pioneer
lnv. Servs., 507 U.S. at 395.

 

 

 

 

 

 

B

Although Long argues that there would be
no prejudice to defendants or to class plain-
tiffs if he were now allowed to opt out, the
court has already concluded that both defen-
dants and class plaintiffs would be preju-

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diced. See supra § 11(B). The length of delay
is substantial. See, e.g., ln re Terazosin Hy-
drochloride Antitrust Litig., 2005 WL
2451957, at *1-”‘3 (S.D.Fla. Julv 8_ 2005)
(finding no excusable neglect where class
members' opt out forms arrived between two
and fours days after opt out deadline). Long
waited until more than 14 months after re-
ceiving actual notice to attempt to opt out of
the class. Long contends that much of this
delay should be excused because he was car-
ing for his wife, who was suffering from
cancer, and for their children The weight of
these obligations and the toll they must have
taken on Long cannot, of course, be under-
estimated or blithely ignored. 1t is certainly
reasonable that Long would have focused
his attention and energy on caring for his
wife and children But even when the court
excuses Long from the delay attributable to
the period when his wife was dying from
cancer and the months immediately follow-
ing her death (December 2007 to August
2008)j a significant and inexcusable period
of delay remains First, after receiving actual
notice on November 5j 2007j Long partici-
pated in the class action, completing a ques-
tionnaire and medical authorization on No-
vember 13 and signing a declaration in De-
cember. He did not attempt to opt out of the
class at that time. Second, Long retained
Pinney to represent him on September 4,
2008, but neither Pinney nor Long even in-
quired about opting out until four months
later. §§ Pinney allegedly was unable to ob-
tain complete hospital records for Long's
deceased daughter until December 2008j but
this is not a sufficient excuse. Obtaining
complete records was not a prerequisite for
opting out, especially in light of the facts
that Long at any time could have requested
copies of the records from class counsel,
Pinney obtained some of the records in Sep-

 

 

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tember 2008, and class counsel's experts had
already analyzed the records and Long had
been informed of their findings

w The class members who were
notified in July 2006 had a period of
approximately two months to request
exclusion before the September 11,
2006 deadline.

"5 Defendants and class plaintiffs also assert
that Long's request to opt out is not being
made in good faith. Class plaintiffs note that
Long availed himself of the services and ex-
pertise of the class for 14 months before at-
tempting to opt out. And defendants point to
the timing of the opt-out request. Long and
Pinney were aware of the settlement nego-
tiations taking place between defendants and
class plaintiffs 1n December 2008 they were
informed that an in-person settlement con-
ference between the parties' representatives
had been scheduled for January 16j 2009.
On January 2, 2009 Pinney sent a letter to
defendants requesting to know whether they
would oppose Long's opt-out motion After
defendants responded that they would, Long
filed the instant motion Defendants contend
that the timing of the motion to opt out indi-
cates that Long is attempting to extort higher
settlement payments for himself, and that he
is undertaking this abusive tactic in bad
faith. Long simply responds that he is acting
in good faith. The court need not decide
whether Long is acting in good faith, how-
ever, because it concludes that, even if he is,
the delay in moving to opt out should not be
excused on the facts presented here.

After considering the applicable factors, the
court concludes that Long has not estab-
lished excusable neglect that justifies wait-
ing until January 9, 2009-more than two

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years after the opt out deadline and fourteen
months after receiving actual notice-to move
for leave to opt out. Long received actual
notice of the class action on November 5,
2007 and participated in the class action in
November and December 2007, but he did
not attempt to opt out during that time. After
formally retaining Pinney in September
2008j Long waited an additional four
months to move for leave to opt out when he
knew that defendants and class plaintiffs
were in the middle of settlement negotia-
tions. Thus even if Long was due another
opportunity to opt out after he received ac-
tual notice of the class action, he did not ex-
ercise it in a reasonable amount of time.

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For the foregoing reasons, Long's January 9,
2009 motion for leave to opt out of class is
denied.

SO ORDERED.

N.D.Tex.,2009.

Klein v. O'Neal, 1nc.

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